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         In the United States Court of Federal Claims
                                         No. 19-1892C
                                  Filed: November 30, 2021

    * * * * * * * * * * * * * * * * * **
                                                 *
   BES DESIGN/BUILD, LLC,                        *
                                                 *
                     Plaintiff,                  *
                                                 *
   v.
                                                 *
   THE UNITED STATES,                            *
                                                 *
                     Defendant.                  *
                                                 *
                                                 *
        * * * * * * * * * * * * * * * * * **

     Todd A. Jones, Anderson Jones, PLLC, Raleigh, NC for plaintiff. With him was
Edward P. Kendall, Strickland & Kendall LLC, Montgomery, AL.
        Ioana Cristei, Trial Attorney, Commercial Litigation Branch, Civil Division, United
States Department of Justice, Washington, D.C., for defendant. With her was Kelly A.
Krystyniak, Trial Attorney, Commercial Litigation Branch, Steven J. Gillingham,
Assistant Director, Commercial Litigation Branch; Patricia M. McCarthy, Director,
Commercial Litigation Branch; Brian M. Boynton, Acting Assistant Attorney General,
Civil Division. Major Nicole Kim, Judge Advocate, United States Army, of counsel.


                                        OPINION

HORN, J.

        In the above captioned case, plaintiff, BES Design/Build, LLC (BES Design/Build),
filed a complaint in this court, albeit one labeled “Notice of Appeal,” which stated it was a
“Notice of Appeal to the United States Court of Federal Claims from the Contracting
Officer’s Final Decision (‘COFD’), which was issued on BESDB’s [BES Design/Build]
claim on Contract Task Order W911S2-16-D-800-0001 on December 13, 2018.” In this
court, plaintiff subsequently filed an amended complaint, a second amended complaint,
and, finally, its third amended complaint. The third amended complaint, filed on
September 4, 2020, asserts two counts: Count One, “Breach of Contract – Failure to Pay,”
on the grounds that the government “breached its obligations under the Contract and
failed to satisfy its obligations under FAR 52.232-10 by not compensating Plaintiff for the
total value of work completed and accepted,” and Count Two, “Changes,” for “various
changes to the Plaintiff’s scope of work under the Contract” such as “Government
directives to alter the design to include underground electrical utilities, an outside fiber
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optic cable and the inclusion of existing utility duct bank profiles.” (capitalization in
original). After an extended discovery process, the parties filed cross-motions for partial
summary judgment, only on Count Two of the third amended complaint. The decision on
Count Two has proven to be challenging in part due to the minimalistic approach of the
parties’ submissions in varying degrees on different issues. After extensive review of the
record, the applicable statutes, regulations, contract provisions, and other referenced
documents, the court issues the following decision.1
                              FINDINGS OF FACT
         On December 1, 2015, BES Design/Build and the United States Army entered into
contract number W911S2-16-D-8000 (the contract), “an Indefinite Delivery Indefinite
Quantity (IDIQ) contract for Architect & Engineering Services for use on federal projects
located primarily at Fort Drum, [New York], but may be used on other federal projects as
requested.. [sic]” The contract included a ceiling price of $4,500,000.00. The contract was
scheduled to last “for a period of three years through November 30, 2018,” and provided
that “[t]here are no option periods.” The contract stated that “[w]ork will be provided on a
Task Order basis as the Government’s needs arise.” The contract also included a
statement of work (SOW) that provided general requirements for the performance of the
contract and any task orders, including requirements for the submission of required
deliverables. According to defendant’s motion for partial summary judgment, “[t]he
contract included firm fixed-price fully burdened negotiated labor rates for each labor
category BESDB would use in performing each task order.” Further, according to
defendant, task orders under the contract were “to be issued on a firm fixed-price bases,
with the price to be negotiated based on the negotiated labor rates.”
        On December 2, 2015, the day after the contract was awarded to BES
Design/Build, “the Army issued task order number W911S2-16-D-8000-0001 (task
order),” which contained one item, the “Minimum Order Guarantee,” priced at $10,000.00.
Subsequently, on December 18, 2015, then-Contracting Officer Cindy McAleese issued
to plaintiff a “Request for Task Order Proposal for A&E [Architect & Engineering] Design
& SWPPP [Stormwater Pollution Prevention Plan] for 400 Area Improvements,” included
in the record as an attachment to plaintiff’s October 17, 2017 request for equitable
adjustment (REA). (capitalization in original). The Request for Task Order Proposal
(RTOP) provided:
       The Contractor shall furnish all labor, management, facilities, supplies,
       equipment, and material necessary to perform an A&E Design & SWPPP
       for the 400 Area Improvements, with a 100% design completion date of 130
       Calendar days after task order award. All work performed under this task
       order shall be in accordance with the attached Performance Work
       Statement.
(emphasis added). The RTOP further provided that “[t]he Task Order Proposal shall be
due on 30 December 2015,” and stated that the “[l]imit for construction cost for this task
order is $4,500,000.00, and a 6% maximum design fee of $270,000.00.” Attached to the

1The court includes extensive quotation from the above sources to give context for this
Opinion as well as for the parties as the case proceeds.


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RTOP was the Fort Drum Performance Work Statement (PWS),2 which would provide the
specific requirements of the “400 Area Improvements” project task order.
      According to a “Memorandum for Record” prepared by Ms. McAleese, dated
February 2, 2016, and included in defendant’s appendix to its motion for partial summary
judgment, following the issuance of the RTOP,
       BES Design/Build submitted an original cost proposal on 7 January 2016 in
       the amount of $421,953.33. Negotiations were entered into on 13 January
       2016, and the Government took exception to two main areas in their
       proposal. First, the profit percentages for BES Design, the prime firm, and
       KCI, one of their approved consultants, were incorrectly stated at 12%. The
       proposed rates for both firms were only 10% in the master contract, so they
       agreed to make the appropriate revisions. Second, they had estimated total
       construction cost to be $4,500,000.00 in their proposal, and it should’ve
       been only $4,000,000.00. They agree with the error and agreed to change
       it in their proposal, and revise their design fees accordingly.
The Memorandum for Record further stated that “[o]n 14 January 2016, BES Design/Build
submitted a revised fee proposal in the amount of $370,184.41. PWE reviewed the
revised fee proposal and accepted it on 15 January 2016.”
        Modification W911S2-16-D-8000-0001-01 (modification)3 to the task order was
issued on February 11, 2016, which placed an order for “all supervision, plant, labor,
material and equipment necessary to perform all operations in connection with the A&E
Design and SWPPP for the development of the 400 Area, Fort Drum NY, in accordance
with the attached Performance Work Statement,” and set the negotiated firm fixed price
of the task order at $370,184.74, based on the Estimated Cost of Construction (ECC) of
$4,000,000.00.4 The task order proposal was negotiated by the government and
contractor, and while the proposal itself is not in the record, the record does not indicate
that utilities were part of the negotiation. The modification reflected the agreement
reached by negotiation between the government and plaintiff regarding the task order
proposal and accepted by the government on January 15, 2016. As with the RTOP,


2 The first time the PWS was attached to any contract document was when it was attached
to the RTOP.
3 The modification issued on February 11, 2016 is the first modification to the task order.
A second modification, modification W911S2-16-D-8000-001-02, was subsequently
issued on April 24, 2017 and extended the period of performance on the contract to
September 30, 2017. The second modification is not relevant to the pending cross-
motions for partial summary judgment regarding Count Two of the third amended
complaint.

4 According to the February 2, 2016 Memorandum for Record, plaintiff had originally
provided for an “estimated total construction cost” of $4,500,000.00, but plaintiff reduced
this figure to $4,000,000.00 in negotiations with the Army.


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described above, attached to the modification was the PWS, the second attachment of
the PWS to a contract document.
        The modification set firm fixed prices for each design milestone, and “[t]he fees for
the design requirements alone (the 35%, 65%, 95%, and 100% milestones) equaled to
$239,944.56, or approximately 6% of the $4 million estimated cost of construction.” The
firm fixed prices for the milestones were as follows:
         SUMMARY                                          Total Price
         1. Field Investigation (Non-Design)              $113,881.66
         2. Design – 35%                                  $61,285.31
         3. Design – 65%                                  $77,717.05
         4. Design – 95%                                  $65,181.55
         5. Design – 100%                                 $35,760.65
         6. RFI & Bidding                                 $16,358.18
         6. [sic] Construction Services                   $ - [5]
         Totals                                           $370,184.41[6]
(capitalization and emphasis in original).
        Two of the contract documents, specifically the SOW and the PWS, reference an
additional document, the Fort Drum Installation Design Guide (IDG). The SOW provided
that “[a]rchitectural themes will be in accordance with Fort Drum’s Installation Design
Guide (IDG), latest edition.”7 The PWS, attached to the December 18, 2015 RTOP and
the February 11, 2016 modification, similarly provided that “[t]he contractor shall provide
and develop site design and landscaping for 400 project area, which comply with the Ft
drum installation design guidelines requirements . . . .” (capitalization in original). As
discussed further below, although the terms “Ft drum installation design guidelines” and
“Fort Drum’s Installation Design Guide” are not identical they appear to refer to the same
document, and these references raise the question of whether the IDG was incorporated
into the contract. According to defendant’s reply in support of its motion for partial
summary judgment, the IDG “‘provides design guidance’ for all site planning, buildings,
circulation, landscaping, site elements, and force protection at Fort Drum.” Whether the
IDG’s requirements were incorporated into the contractual agreement between the
plaintiff and the Army, and if so, whether the IDG or other documents which were
incorporated into the contract between the parties for architectural and engineering
services required that electrical utilities be placed underground is a main focus of the
5   The price for the “Construction Services” milestone is blank in the PWS.
6The total of the milestones should equal $370,184.40, not $370,184.41 as listed in the
modification.
7   The edition of the IDG included in the record before the court is dated April 2011.


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dispute addressed in this Opinion. Additionally, the parties have offered arguments
regarding whether the government’s actions during the course of performance of the
contract constituted changes to the contract between the parties, whether plaintiff gave
proper notice of such alleged changes, and whether any of the alleged changes to the
contract were affirmed by the government.
        It is unclear from the record before the court when or how the Army provided the
IDG to plaintiff. Defendant, in its response to plaintiff’s motion for partial summary
judgment, states only that “[t]he Army also provided BESDB with the Fort Drum
Installation Design Guide,” without providing further detail. Plaintiff’s reply in support of its
own motion for partial summary judgment similarly states the IDG was “prepared or
drafted by the Government” without explaining further. The IDG was not included in the
record before the court until it was submitted as a supplemental appendix to defendant’s
response to plaintiff’s motion for partial summary judgment. According to the deposition
of Mr. Ward, the Assistant Project Manager of BES Design/Build, conducted by defendant
and included in plaintiff’s appendix, the IDG “was included in the initial contract
documents,” and when Mr. Ward was asked if he was “familiar with the Installation Design
Guide,” he answered: “Yes.”
      Following the issuance of the modification, the contract between the Army and
BES Design/Build contained the contract SOW, the task order, the modification, the PWS,
and IDG. As stated above, the PWS was attached to the RTOP and to the February 11,
2016 modification, which both directed that the contractor perform the task order “in
accordance with the attached Performance Work Statement.” The IDG, as stated above
and as further discussed below, was incorporated into the contract and the task order by
statements included in the contract and the PWS.
       The contract established the framework pursuant to which task orders would be
issued to plaintiff. As noted above, he contract included one item, “A & E Services –
General Design,” which included the following description: “Services to be provided in
accordance with the scope of work provided for herein and any associated task orders.”
With respect to task orders, the contract provided: “Work will be provided on a Task Order
basis as the Government’s needs arise. The Task Orders will be Firm Fixed Price.”8
(capitalization in original).
       The contract further provided:
       Only a Warranted Contracting Officer, acting within their delegated limits,
       has the authority to make modifications or otherwise change the terms and
       conditions of this contract. If an individual other than the Contracting Officer
       attempts to make changes to the terms and conditions of this contract you
       shall not proceed with the change and shall immediately notify the
       Contracting Officer.



8According to the record currently before the court, only one task order, W911S2-16-D-
8000-0001, the task order at issue in the case currently before the court, was issued
under the contract.


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       The parties have distinctly different understandings of what the terms of the
contract are and of the impact of the clauses of the Federal Acquisition Regulation (FAR)
and of the Defense Federal Acquisition Regulation System (DFARS), which were
incorporated into the contract, as well as which clauses were relevant to contract
performance. The contract incorporated the text of a number of FAR clauses, including
FAR 52.216-18, “Ordering (Oct 1995),” FAR 52.236-22, “Design Within Funding
Limitations (Apr 1984),” FAR 52.236-23, “Responsibility of the Architect-Engineer
Contractor (Apr 1984),” FAR 52.236-24, “Work Oversight in Architect-Engineer Contracts
(Apr 1984),” and FAR 52.246-4, “Inspection of Services – Fixed-Price (Aug 1996).”
        The contract incorporated additional FAR clauses by reference, including FAR
52.243-1, “Changes – Fixed Price (Aug 1987) – Alternate III,” FAR 52.243-7, “Notification
Of Changes (Apr 1984),” and FAR 52.233-1, “Disputes (May 2014).” The contract
additionally incorporated DFARS 252.216-7006, “Ordering (May 2011).” In accordance
with 10 U.S.C. § 4540 (2012),9 the contract also was subject to DFARS 236.606-70,
“Statutory fee limitation.” The parties agree that DFARS 236.606-70 applies to this
contract, although they express its application in different terms. Plaintiff argues that “[t]he
Contract incorporated DFARS 236.606-70,” while defendant argues that “BESDB’s
contract is subject to DFARS clause 236.606-70 . . . .” Task orders were issued under the
original contract and were “subject to the terms and conditions of the contract,” such that
“[i]n the event of a conflict,” the terms and conditions of the contract would prevail over
those of any task order. See FAR 52.216-18(b). In other words, any task order issued
under the contract incorporated the terms and conditions of the contract.
       As stated above, the contract included a “Statement of Work” (SOW). Unlike the
later PWS, which was attached to the RTOP and to the modification and provided the
technical requirements for the task order at issue in the case before the court, the contract
SOW set requirements applicable to the performance of any task orders issued under the

9The court notes that 10 U.S.C. § 4540 was recodified at 10 U.S.C. § 7540 in the John
S. McCain National Defense Authorization Act for Fiscal Year 2019, Pub. L. No. 115-232,
§ 808(c)(2), 132 Stat. 1636, 1839 (2018). Therefore, the reference to 10 U.S.C. § 4540 in
DFARS 236.606-70(a) is out of date and should instead to 10 U.S.C. § 7540. The statute
at 10 U.S.C. § 4540 (2012) provided in relevant part:

       (a) Whenever he considers that it is advantageous to the national defense
       and that existing facilities of the Department of the Army are inadequate,
       the Secretary of the Army may, by contract or otherwise, employ the
       architectural or engineering services of any person outside that Department
       for producing and delivering designs, plans, drawings, and specifications
       needed for any public works or utilities project of the Department.

       (b) The fee for any service under this section may not be more than 6
       percent of the estimated cost, as determined by the Secretary, of the project
       to which it applies.

10 U.S.C. § 4540 (2012) (current version at 10 U.S.C. § 7540 (2018)).


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contract, including instructions for how to prepare and submit deliverables in the course
of performance. In particular, section “C.5 Deliverables” of the SOW contained
specifications for the submission of percentage designs. Paragraph “C.5.1 Format and
Media” of the SOW provided, in relevant part, that “Concept Design (35%), Interim Design
(65%) and Final Progress Design (95%) and Final Design (100%) shall be submitted to
the Government for review and comments.” (capitalization in original). Section “C.5
Deliverables” of the SOW further provided:

      C.5.4 Government Review and Comment: The Contractor shall prepare a
      review and comment form to be used. The format of the review and
      comment form shall be submitted to the Government for approval. The final
      format of the form shall be mutually agreeable to both the Contractor and
      Government. Upon approval of the form, the form shall not be modified
      unless approved by the Contracting Officer. The form shall be prepared in
      Microsoft Word. For each design phase submittal, the Government will, as
      it determines appropriate, distribute the design phase submittal to project
      stakeholders for review and comment. The Contractor shall consolidate all
      review comment forms into one master document where the Contractor
      shall respond directly to each specific Government review comment.

      C.5.5 Concept Design (35%): The Concept Design (35%) shall primarily
      consist of project concepts, preliminary drawings, field investigation
      narrative reports indicating analysis of existing conditions, economic
      analysis, identification of permit requirements and proposed scheme of
      work. It shall include drawings and design analysis assuring compliance
      with Government criteria. It shall also include a tentative Table of Contents
      showing proposed specification sections to be used.

      C.5.6 Interim Design (65%): The Interim Design (65%) is used to check
      progress, schedule, cost, and identify any risks to timely completion of the
      design. The Interim Design shall consist of drawings, redlined UFGS
      [Unified Facility Guide Specifications], prepared project specification drafts,
      updated design analysis, revised cost estimate, and draft design reports.
      Drawing, specifications, and design analysis will be updated by all
      comments and project development. The basis for changes will be
      documented.

      C.5.7 Final Progress Design (95%): The 95% interim design shall be the
      Final Progress Design, and shall be complete in the final format and
      accurate in the best judgment of the Contractor, except for minor
      typographical errors and pencil-in corrections. This deliverable shall include
      a reproducible copy of the 65% design comments with responses.

      C.5.8 Independent Technical Review: The Contractor shall have an
      independent technical review conducted (review by someone technically
      qualified from each discipline other than the designer/designer engineer(s))



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       of all drawings, specifications and other required technical documents prior
       to the final review. The intent of this independent review is to eliminate
       errors, interferences, and inconsistencies, and will be used to verify that all
       design criteria, review comments, guide specifications, and contract
       requirements are incorporated into the final design.

       C.5.9 Final Design (100%): The Final Design (100%) represents the total
       design effort. The Contractor will incorporate the 90% review comments into
       the 100% submission. This submission shall consist of completed permits,
       drawings, specifications, submittal registry, cost estimate, design analysis,
       reports, and a reproducible copy of the 90% design comments. If it is
       determined by the Government that all necessary comments were not
       incorporated into the final submittal, the Contractor shall, at no additional
       cost to the Government, make immediate correction to the contract
       documents. If requested in the Task Order, final GIS deliverables shall be
       provided. The final design analysis shall be complete and support the
       requirements of the project. Final design drawings, specifications, cost
       estimate, and other deliverables shall have been thoroughly checked with
       all comments incorporated. Any required permit applications, permit
       approval letters, and/or any requirements that apply to project construction
       shall be included in appendices to the specifications. The Contractor shall
       submit with the final design a written certification that the Independent
       Technical Review was completed prior to submitting to the Government.

       C.5.10 Final Back-Checked: A revised final submittal may be required to
       assure all comments have been satisfactorily resolved and the design
       documents are ready to be used for solicitation of construction proposals.
       The final contract documents shall contain the necessary details to permit
       prudent and competitive bids, and must be sufficient in technical quality,
       accuracy, and completeness to afford a clear understanding of the
       construction project.

(capitalization in original).

        Section “C.8 Civil Engineering” of the SOW set out “requirements for site planning
and layout: roads, railroads, parking areas, drainage, and/or other civil works,” the
contract required the contractor “[p]rior to beginning site development plans,” to “obtain
the following data,” including the “[l]ocation of existing roads, utilities, buildings, and other
features . . . .” Paragraph “C.8.6 Concept Design” of the SOW provided:

       The Contractor will develop a conceptual site plan which encapsulates the
       project requirements. The plan should be an efficient layout with emphasis
       given to user requirements. The plan will show building locations, parking
       areas, roads, limits of paving and hardstands, and pedestrian access. The
       plan will be developed so that a preliminary cost estimate can be prepared.




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The Concept Design was required to include information concerning a “[u]tility plan,” as
well as a “[l]ayout plan” containing “[c]enterline stationing for roads, streets, parking
areas, runways, taxiways, utilities, and alignments.”

       Following the Concept Design, paragraph “C.8.8 Interim Design” of the SOW
provided that “[t]he Contractor will advance from the concept into design. All components
from the concept review will be resolved/incorporated into the interim design.”
(capitalization in original). At the interim design stage, the contract SOW required the
submission of “Interim Design Drawings,” including the following, in relevant part:

       ii. Removal and/or Relocation plans: Indicate all items of work that require
       removal or relocation. Provide dimensions for removal items such as
       pavement, curbs, sidewalks, utilities, buildings, walls, partitions, or other
       site features proposed for removal or relocation.
                                           ...

       v. Utility Plan: The utility plan will identify and locate water lines, sanitary
       sewers, natural gas, electrical, communications, and other subsurface utility
       features.
                                               ...

       vii. Utility Profiles: Provide profiles for all storm drainage systems, sewer
       lines, water lines, and telecommunications duct banks. Indicate invert
       elevations, ground profiles and new and existing structures and utility
       crossings.

(capitalization in original). Following the Interim Design, the SOW required a “Final
Design,” at which stage “[t]he Contractor will advance the design to completion
resolving/incorporating all comments from the previous design reviews. This design
phase should only require minor editorial changes.” (capitalization in original). As with the
Interim Design, the SOW provided for the Final Design to be accompanied by “Final
Design Drawings,” with the following requirements:

       Revise previously prepared design drawings to resolve/incorporate all
       previous review comments. Add general notes to drawings as required;
       ensure correct cross-referencing among site drawings for appropriate
       deals, sections, match lines, and other methods for continuities of drawings;
       eliminate all conflicts (horizontal and vertical) among site plans,
       architectural plans, structural and utility plans.

       Section “C.10 Architectural” of the SOW provided:

       C.10.1 Purpose and Applicability: This section presents environmental
       requirements for preparing and presenting architectural designs.
       Excellence in architectural design is a primary goal for military construction
       projects on Fort Drum. Architectural themes will be in accordance with Fort



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       Drum’s Installation Design Guide (IDG), latest edition. The Contractor will
       assure architectural compatibility with local environment, economy of
       construction, sustainability, energy conservation, functional requirements,
       and interior and exterior detailing.

(capitalization in original; emphasis added). The reference to the IDG in Paragraph C.10.1
is the first mention of the IDG in the contract documents currently in the record before the
court.

     Included in section “C.13 Electrical Engineering” of the SOW, paragraph “C.13.4
Concept Design” provided:

       b. Drawings: For interior work, provide building floor and ceiling plans. Plans
       will include layouts for lighting, conduits, feeders, branch circuits,
       grounding, and electrical receptacles. For renovation and demolition
       projects, plans will depict the work and non-work requirements. Where work
       is extensive, separate sheets should be used to show existing-to-remain,
       demolition, and new work. For exterior work, provide exterior electrical
       supply and lighting plans. The electrical drawings will include plan and
       elevation drawings. Electrical supply and lighting layouts will show new and
       existing utilities. Plans will show locations of electrical supply equipment,
       building service equipment, and exterior supply circuits affected by the
       project. The plans will be coordinated with other utility plans concerning
       scale and landmark references for proximity and interference management.
       The plans will be separate from water, sewer, and other utility plans. Signal
       line diagrams will depict proposed power sources and distribution schemes
       (interior and exterior, as applicable). The diagrams will include existing and
       proposed protective device types in sufficient detail to communicate the
       system protection methods.

The SOW at paragraph “C.13.6 Final Design” further provided:

       b. Drawings: Final drawings will show all pertinent plans, elevations,
       sections, details, schedules, and notes to present a complete description of
       the construction requirements. All elements will be properly annotated and
       located with proper dimensions.

              (1) Exterior Electrical Drawings will include:
                     (i) Details which clearly depict the installation requirements of
                     overhead and underground supply and utilization equipment;

(capitalization in original). Section “C.15 Miscellaneous” of the SOW provided:

       C.15.1 Purpose and Applicability: The statements of work as outlined in
       Parts 1 through 19 shall not be construed to be inclusive of architectural
       and engineering design services that may be contemplated by the



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       Government for award of task orders under this contract. When design
       services requested in a project scope of work do not clearly fall within one
       of these parts, the design phase submittal requirements, as outlined in
       these parts, will apply to the requested design services. Discussion and
       clarification of project scopes shall be completed during the scope meeting
       attended by Government representatives and the contractor.

(capitalization in original). In the same section, the SOW included:

       IMPORTANT NOTICE: The Contractor will not accept any instructions
       issued by any person other than the Contracting Officer or his/her
       authorized representative acting within the limits of his/her authority. No
       information other than that which may be contained in any authorized
       amendment to this contract or any authorized modification to the contract
       issued by the Contracting Officer, which may be received from any person
       employed by the U.S. Government or otherwise, shall be considered as
       grounds for deviation from any provisions, conditions or other terms of this
       contract.

(capitalization and emphasis in original). In the same section, the SOW continued:

       C.15.5 Government Contracting Officers Representatives Their Authority:
       The Contracting Officer may identify the individuals to act as the Contracting
       Officer’s Representative (COR) and the Alternate Contracting Officer’s
       Representative (ACOR). This designation will be made in writing with a copy
       furnished to the contractor. The COR staff will represent the Contracting
       Officer in the administration of the contract, but will not be authorized to
       change any of the terms and conditions of the contract.

              No oral statements of any person, whomsoever, will, in any manner
              or degree, modify or otherwise affect the terms and conditions of this
              contract. The Contracting Officer shall be the ONLY person
              authorized to approve changes in any provisions contained
              elsewhere in this contract, and said authority shall remain solely with
              the Contracting Officer.

(capitalization and italics in original; emphasis added).

        The task order – which, as discussed above, effected a “Minimum Order
Guarantee” in the amount of $10,000.00 – did not include separate, substantive terms
and conditions. The task order provided that “[t]his delivery order/call is issued on another
Government agency or in accordance with and subject to terms and conditions of above
numbered contract.” The task order further provided: “The Contractor hereby accepts the
offer represented by the numbered purchase order as it may previously have been or is
now modified, subject to all of the terms and conditions set forth, and agrees to perform
the same.”



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        The RTOP, as noted above, was issued on December 18, 2015, and provided that
while “[t]his solicitation does not commit the United States Government to award a task
order,” for any task order awarded in response to the contractor’s task order proposal,
“[a]ll work performed under this task order shall be in accordance with the attached
Performance Work Statement.” Following plaintiff’s submission of its task order proposal,
not included in the record before the court, and subsequent negotiations between the
Army and plaintiff, the Army issued the modification to the task order at issue in the case
currently before the court.

      The modification was issued on February 11, 2016, on what looks like a task order
form, but labeled “Delivery Order/Call No. 000101.” In place of the Minimum Order
Guarantee, the modification included an item “AE Design & SWPPP 400 Area
Improvements,” with a unit price of $370,184.71, and included the following description:

       Contractor shall provide all supervision, plant, labor, material and
       equipment necessary to perform all operations in connection with the A&E
       Design and SWPPP for the redevelopment of the 400 Area, Fort Drum NY,
       in accordance with the attached Performance Work Statement,
       specifications and drawings dated December 1, 2015, and subject to the
       terms and conditions of the contract. The final, 100% Design Plans, shall
       be due 130 calendar days from task order award.

(capitalization in original). The modification was additionally documented on February 11,
2016, on a form labeled “Amendment of Solicitation/Modification of Contract,”
(Modification of Contract form) and included in plaintiff’s appendix to its motion for partial
summary judgment, as “Amendment/Modification No. 01.” The Modification of Contract
form provided that “[t]he purpose of this modification is to add additional funding and
definitize the task order with the attached Performance Work Statement dated 01
December 2015.” The Modification of Contract form confirmed that “[t]he total cost of this
contract was increased by $360,184.71 from $10,000.00 to $370,184.71,” and reflected
the replacement of the Minimum Order Guarantee item with the “AE Design & SWPPP
400 Area Improvements” item.

       The modification incorporated the PWS which, unlike the contract SOW described
above, set the specific requirements for performance of the task order at issue in the case
currently before the court. The PWS was prepared by the “For Drum Public Works
Engineering Division” and was labeled “PW [Public Works] Engineering Task Order
Performance Work Statement/Statement of Objectives for A/E Design Services.” Section
“1.0 General” of the PWS provided:

       This Performance Work Statement/Statements of Objectives (PWS/SOO)
       to this task order. This PWS/SOO presents an overview of Government
       design requirements. The SOW describes design disciplines that the
       Government deems necessary to complete the project. The Architectural &
       Engineering (A/E) firm shall not consider these design disciplines to be



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       inclusive of all design requirements that would result in a complete and
       useable project design for acceptance by the Government. It shall be the
       A/E’s responsibility to prepare a fully developed proposal to provide a
       complete and usable design acceptable to the Government.

       1.1 Project Purpose and Description

               The purpose of this project is to develop necessary engineering
               documentation including construction plans, field investigations,
               specifications, design calculations and analysis, SWPPP
               (Stormwater Pollution Prevention Plans) for construction activities
               and current working estimate to develop the 400 project area by
               providing asphalt paved parking lots, concrete paved sidewalks,
               pave inside service roads, mill/reconstruct the failing Lewis and
               Fourth Street West roads, improve the drainage to avoid any water
               ponding, provide utilities to accommodate the new design and layout,
               and landscaping within the 400 area (refer the Government provided
               preliminary concept plans in the appendices)

                                             ...

       1.3 Project Design Objectives

               The objectives for this A/E design project are: (1) provide
               construction level engineering design plans and specifications for
               PW Engineering to competitively solicit construction proposals using
               one or more IDIQ construction contracts (i.e., MATOC, JOC, and/or
               Requirements Contract) vehicles: (2) provide engineering design
               solutions to meet PW Engineering’s customer’s needs for a complete
               design: (3) Provide an engineering design solution that meets the
               customer needs within the cost limits of the Government’s estimate
               for construction and as necessary prepare bid alternates to maintain
               the construction cost within cost limitations: (4) develop a detailed
               engineer’s opinion of cost for construction consistent with the design.
               (5) respond to construction contractor Requests for Information
               (RFIs) generated during the bidding process: (6) prepare and issue
               design amendments for revised engineering designs, scopes, and
               cost estimates resulting from responses to contractor RFIs, as
               necessary and appropriate.

(capitalization in original).

      In a section labeled “2.0 A/E Services,” under the heading “2.1 General,” the PWS
provided that “[t]he Contractor will conduct a design charrette, scoping and planning




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meeting. . . . A site visit(s) will be held during the design charrette.”10 (capitalization in
original). With respect to the Design Charrette meeting, the PWS specified that “[t]he
contractor will prepare a design charrette agenda and schedule for review and approval
by the Contracting Officer. The design charrette shall address all aspects of the project
requirements.” (capitalization in original). The PWS further provided that “[t]he Contractor
will prepare a design charrette report and preliminary plans and submit the same to the
contracting officer.” (capitalization in original).

       Under the heading “2.2 Statement of Design,” the PWS provided a number of
technical requirements, specifically, the requirement that the contractor to perform a “Site
Investigation,” according to the following requirements:

       The contractor shall complete a site investigation to evaluate site conditions
       that will affect design and construction of the project. The site investigation
       shall include, but not limited to, subsurface soil conditions, grading,
       drainage, access and circulation, horizontal and vertical location of
       aboveground and underground utilities, and adjacent facilities and services
       in the immediate vicinity of the project site, and any other information
       required. Complete and instrument survey of the site and immediate
       surrounding area. The survey shall be prepared by, and bear the seal and
       signature of, a licensed land surveyor. The survey shall establish at least
       two temporary benchmarks for horizontal and vertical control for
       construction[.]

Paragraph “2.2.3 Site/Civil Design” of the PWS further provided:

       The contractor shall provide and develop site design and landscaping for
       400 project area, which comply with the Ft drum installation design
       guidelines requirements, in compliance with ADA Accessibility Guidelines
       (ADAAG), meet the force protection standards as defined in IAW UFC 4-
       010-01, and improve the drainage to avoid any water ponding. A copy of
       UFC 4-010-01 is provided in Appendix B.

(capitalization in original). Paragraph 2.2.3’s reference to “installation design guidelines”
is the second reference to the IDG in the contract documents. Paragraph “2.2.8 Utilities”
of the PWS provided:

       2.2.8.3 Electrical

              Any existing electrical primary and secondary services, transformers
              (that need to be removed, or abandoned or required to be upgraded),
              electrical poles, light fixtures and any others that need to be removed
              or abandoned or relocated need to be identified.


10The record currently before the court provides no additional information as to the nature
of the Design Charrette meeting aside from the material quoted here.


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               Provide primary and secondary electrical distribution services
               infrastructure, new lighting poles, transformers, LED light fixtures,
               parking lots lighting and streets lightings and other for the new layout
               and development of the 400 project area.

(capitalization in original).

         Immediately following “2.2.8.3 Electrical,” paragraph “2.2.8.4 Communications”
provided: “The existing communications (above ground or underground) that need
relocation are required to be relocated underground and new underground
communication in the 400 project area shall be provided in accordance with Ft Drum
Utility standards and I3A Technical Guide (latest).” (capitalization in original).

        The PWS lists additional appendices, including “Appendix C,” which included “Ft
Drum Utility Standards.” Neither Appendix C nor the other appendices to the PWS are
included in the record currently before the court, and it is unclear what requirements with
respect to utilities, if any, these documents contain which would be relevant to the issues
in the case currently before the court. For this reason, it is difficult to set out with certainty
the full picture of the contract’s requirements with respect to electrical utilities.

        The parties dispute the application to the contract of the IDG referenced in the
PWS. As discussed above, it is unclear when or how the IDG was provided to the plaintiff.
The IDG is not straightforward or entirely consistent, but establishes goals and themes
for construction at Fort Drum, including visual sustainment and antiterrorist goals.
Moreover, as indicated below, the IDG includes a waiver request and approval provision
if the design guide is not followed in the project. Although there are some confusing
references to screening and hiding utilities, as discussed below, the original contract and
its incorporated documents, including the IDG, should be read as a whole to determine
what it requires. The IDG is a design guide prepared for use in construction on the Fort
Drum installation, and it sets forth “standards and general guidelines” governing
contractors and government personnel. The IDG states in the “Executive Summary” that:
       Fort Drum’s IDG provides design guidance for the following:
               Site Planning: directs how and where development should occur, as
               well as the development pattern
               Buildings: establishes the architectural style, proportions, and
               character building prototypes, as well as an acceptable palette of
               materials and colors.
               Circulation: regulates the hierarchy of streets and pathways, and
               their overall design character.
               Landscape: provides guidance on appropriate means of landscaping
               a variety of facilities and open spaces, and the appropriate types of
               plant to use.




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               Site Elements: establishes an appropriate palette of exterior
               furniture, and guidance for the design of pavilions, signage,
               monuments, and storm water management.
               Force Protection: offers guidance on strategies to implement safety
               and security measures.
Section “Visual Themes” provides that:
       Fort Drum has several Themes that each identify unique visual qualities
       inherent to the facilities and functions that occur within them. Typical
       features that establish the visual characteristic include: unique buildings,
       vehicular and pedestrian corridors, natural features, and how they are
       arranged on the land.
       Each Theme was assessed for its visual assets to determine the good
       qualities of the Installation, as well as its liabilities – those qualities that
       needed improvement. Recommendations were made on how to improve
       liabilities, and how to maintain and build upon assets. Themes include:
       Troop Village, Community, Airfield, and Residential. A fifth theme – Ranges
       and Training – is for reference only, and is not assessed for assets,
       liabilities, or recommendations.
       While the current condition for buildings and site features helped to
       determine the delineations of the Visual Themes, other contributing factors
       were considered as well. These include:
                   ▪   Function
                   ▪   Massing
                   ▪   Physiographic
                   ▪   Political
                   ▪   Operational
(capitalization in original).
       The IDG, at section “Purpose of the IDG,” provides:
       The purpose of the Installation Design Guide (IDG) is to provide design
       guidance for standardizing and improving the quality of the total
       environment of the Installation (Fig 1-1). This includes not only the visual
       impact of features on the Installation, but also the impact of projects on the
       total natural and built environment. The improvement of the quality of visual
       design and development and use of sustainable design and development
       practices have a direct and future impact on the quality of life for those who
       live, work, or visit the Installation.
       The IDG includes standards and general guidelines for the design issues of
       site planning; architectural character, colors and materials; vehicular and
       pedestrian circulation; and landscape elements. This includes plant
       material, seating, signage, lighting, and utilities. The design guidelines
       incorporate sustainable design, quality of design, antiterrorism, low


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       maintenance, historical and cultural resources, natural resources, durability,
       safety, and compatibility.
(capitalization in original). Section “Audience” of the IDG provides:
       The IDG is to be used by all individuals involved in decision-making, design,
       construction, and maintenance of facilities (Fig 1-2). The primary users
       include the following:
          ▪   Garrison Commander and Staff
          ▪   Installation facility planning and design personnel
          ▪   Installation facility maintenance personnel
          ▪   Installation Management Command and Region
          ▪   U.S. Army Corps of Engineers Project Managers, as well as Design
              and Construction staff
          ▪   Consulting Landscape Architects, Planners, Engineers, Interior
              Designers, and Architects
          ▪   Supporting Agencies, such as AAFES, DeCA, MEDCOM, tenants,
              etc.
          ▪   National Guard
       The ultimate success of the IDG is dependent upon the commitment of the
       above individuals and organizations working as a team to apply the Army
       standards.
(capitalization in original). The “Audience” section indicates that architect-engineer
contractors like plaintiff are intended to be bound by the IDG when performing work on
the Fort Drum installation.
       The section of the IDG “When to Use the IDG” provides:
       This IDG provides Installation-specific design data. The general design
       concepts, recommendations, and standards addressed herein are
       applicable to the Fort Drum Installation. This document will act as a
       reference to; acquire recommendations and standards for the design,
       renovation, and maintenance of all facilities, infrastructure, landscaping,
       and site elements (regardless of funding source).
(capitalization in original). The section of the IDG titled “Organization of the Document”
provides: “This Installation Design Guide is organized to facilitate the preparation and
execution of projects, in order: to improve the visual image of the Installation, and ensure
that design conforms to Army standards, and includes sustainability.”
       The IDG’s section “Using the Design Guide,” provides:
       Use this IDG in determining the general design and construction
       considerations inherent in the preparation of project plans. The IDG
       provides design guidelines and Army-wide design standards intended to be
       used in all maintenance, repair, renovation, and new construction projects.
       The IDG applies to all projects, regardless of the funding source.



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       The IDG should also be used in developing requirements for programming
       documents for MCA construction (the DD Form 1391) cost estimates, as
       well as the preliminary and final designs (from both in-house and external
       design sources) whenever it involves exterior visual elements on the
       Installation.
(capitalization in original; emphasis added). Further, a graphic included in the IDG lays
out
       the steps for how the design guide is used for the preparation of plans for
       new construction, renovation, maintenance, and repair projects on the
       Installation:
          ▪   Step 1: Review the Installation Profile information included in Section
              4 of this IDG.
          ▪   Step 2: Review the IDG analysis criteria information contained in
              Section 3, including design goals and objectives, visual elements,
              and design principles.
          ▪   Step 3: Review the information and description of the Installation
              themes in Section 5.
          ▪   Step 4: Select the theme where the project will be located from
              Section 5, Visual Themes. Review the assets, liabilities, and
              recommendations for that zone.
          ▪   Step 5: Use the reference matrix to select the appropriate guidelines
              or standards from the design components specific for the chosen
              theme. These are addressed in Sections 6 through 11 (site planning,
              buildings, circulation, landscaping, site elements and force
              protection). Also reference Appendix A: Installation Design Guide
              Checklist and Appendix B: Project Requirements Checklist to
              complete the Design Package. Once these are properly and fully
              completed by a qualified Architect or Engineer, the project
              requirements should be well identified and design should move
              forward without difficulty.
(capitalization in original). The “Implementation” section of the IDG includes the following
guidance: “The requirement to use the IDG as a design tool in all facility planning, design,
and construction should be included in the: Request for Proposals on new projects,
Scopes of Work for new projects, and maintenance agreements.” The same section also
provides:
       The Design Team IDG Checklist (Appendix A) is to be completed by the
       design team to ensure that guidelines and standards have been considered
       in the design process. The checklist, along with concept site plans and
       elevations for each design submittal, must be filed with project
       documentation. The accepted checklist will become a part of the project
       record files.
As noted above, the “Implementation” section in the IDG further provides: “When projects
do not adhere to the standards set forth by the IDG, a request of waiver will be submitted


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to the Master Planning office for approval. Such justification for a waiver must be
documented in the Design Guide Checklist (Appendix A).” (emphasis added). The IDG’s
“Design Guide Analysis Criteria” includes a section titled “Visual Elements,” which,
“provides guidance” to the contractor to “[m]inimize the visual impact of utilities by placing
them underground or concealing in some fashion.” (emphasis added).
         In the “Visual Themes” portion of the IDG, discussed above, the IDG identifies the
visual themes at Fort Drum, detailing assets, liabilities, and recommendations for each
visual theme. In the “Site Elements Recommendations” for the “North Post” area, in the
“Troop Village” theme, the IDG states: “Better integrate overhead utilities and utility boxes
with the landscape, and whenever possible place utilities underground.” (capitalization in
original; emphasis added). The same recommendation is made for the “Community”
theme. In the “Site Elements Liabilities” for the “South Post” area, in the “Troop Village”
theme, the IDG states: “Overhead utilities are prominently visible throughout Theme.” In
the “Site Elements Liabilities” for the “Community” theme, the IDG states: “There are
many instances where mechanical equipment, utilities, or service areas are not screened
from public view.” In the “Site Elements Assets” for the “Airfield” theme, the IDG includes:
“Utilities are underground and are not visually obtrusive.” (emphasis added). In the “Site
Elements Liabilities” for the “Residential” theme, the IDG states: “Infrastructure/utilities
are prominently visible at community entrances.”
       In the “Building Design” portion of the IDG, the IDG states, under the heading
“Service Areas:”
       Service areas (such as loading docks, utility access/equipment, and trash
       dumpsters) will be screened from the views of primary use areas (such as
       entrances, courtyards, gathering areas, streets, and parking lots).
       Screening can be an enclosure using walls, berms, landscaping, or any
       combination thereof. Screen walls should be between six and eight-feet
       high and should be of compatible materials with the adjacent building.
The “Site Elements Design” portion of the IDG provides:
       Introduction
       Site elements include outdoor amenities, such as furniture, structures,
       safety and security, lighting, and utilities. Through the use of style, scale
       and color, a well-selected palette of site elements will support the unique
       character of individual visual theme areas while creating a consistent image
       for the entire Installation. This section provides overall objectives for site
       elements on the Installation.
       Site Element Objectives
       Site elements will be selected when plans for the existing and future
       Installation are prepared. Selection will be governed in part by the existing
       conditions, in order to match or conform to the current standard of style,
       color, and materials. To this end, site elements should meet the following
       objectives:



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                                             ...
          ▪   Minimize negative visual impacts of all utility systems.
          ▪   Minimize environmental impacts of all utility systems.
(emphasis added). In the “Utilities” section, the “Site Elements Design” portion of the IDG
further provides:
      Utility systems provide the basic infrastructure of power, communication,
      water, and sewer services necessary for the operation of the Installation.
      However, utilities play a key role in the visual quality on an Installation. Their
      primary impact on the visual quality is the result of the clutter of overhead
      utility lines and poorly designed storm drainage systems.
      The visual and environmental impact of utilities should be minimized on the
      Installation. Also, the systems should be designed to minimize maintenance
      and repair. The result is a more sustainable utility system that will promote
      the overall sustainability of the Installation.
      Utilities shall be bored under roads unless otherwise directed.
(emphasis added). The “Utilities” section further provides:
      Overhead Transmission Lines
      Unsightly overhead utilities should be relocated underground wherever
      possible to reduce negative visual impacts, as well as to reduce
      maintenance and repair requirements. Underground utilities are also
      desirable for protection from terrorist or other enemy attack. When
      underground locations are not possible, the negative visual impacts should
      be minimized by using the following design techniques:
              Overhead Transmission Lines Location. Overhead transmission
              lines should be aligned along edges of land use areas, to avoid
              dividing an area and creating gaps or unusable areas. They should
              conform to natural landforms that can be utilized to screen them from
              public view. Hills should be crossed obliquely rather than at right
              angles. Alignments along hill crests or steep grades should be
              avoided.
              View Screening. Minimize long views or silhouette views of overhead
              transmission lines from along roads and other public viewing areas.
              Along, straight, uninterrupted views (such as along roadways), avoid
              the “tunnel effect” that results from only clearing vegetation
              threatening the overhead lines within the right-of-way. Jog the
              alignment of overhead lines at road crossings and periodically
              undulate. Feature plant materials along the edges of the right-of-way.
      Distribution Lines
      Power distribution lines should also be located underground to minimize
      negative visual impact, reduce maintenance, and protect from terrorist or


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       other enemy attack. If overhead, they should be located out of view from
       main public visibility areas or screened to be as unobtrusive as possible.
       Avoid alignments of overhead lines along major circulation corridors. Use
       minor streets, alleyways, and rear lots, as well as vegetation or topography
       that provide screening and minimize visual impact. Minimize the number of
       poles and pole height, and use poles that blend into their surroundings to
       reduce visual impact. Poles should also be multi-functional (for power,
       telephone, cable television, street lighting, etc.) to reduce visual clutter.
(emphasis added). The IDG also includes appendices. The “Design Team IDG Checklist”
in Appendix A includes the item: “Will all power and other distribution lines be located
underground?” The IDG similarly provides in Appendix B a “Project Requirements IDG
Checklist,” which included under the section “1.4 Utilities Service Requirements” the
following: “NOTE: Enclose underground primary electrical service in concrete from the
new utility tie-in points to the pad mounted transformer and/or mechanical room panel
boxes.” (capitalization and emphasis in original).
         On March 3, 2016, the parties held a “Design Charrette/Project Kick-off Meeting”
to discuss design requirements in anticipation of the 35% milestone. (capitalization in
original). According to the Design Charrette meeting attendance roster, included in
plaintiff’s appendix to its motion for partial summary judgment, the meeting included
William Bolton, owner of BES Design/Build, Terry Ward, Assistant Project Manager of
BES Design/Build, Contracting Officer Cindy McAleese,11 Zahid Jamil, Project Manager
from Public Works at Fort Drum, and Fred Stone, Acting Chief of Engineering at Fort
Drum. Plaintiff insists that “[a]t the Design Charrette Meeting, for the first time, BES was
told that all existing aerial electrical utilities would need to be designed underground for
the entire Project, despite the fact that this was not included in the PWS.” (capitalization
and emphasis in original). This requirement, according to plaintiff, necessitated the
placing of the electrical utilities in concrete duct banks in order to comply with Fort Drum’s
utility standards, and the need for such duct banks was also not included in the PWS –
an argument plaintiff makes in spite of the inclusion in Appendix B of the IDG, at section
1.4, of a note to “[e]nclose underground primary electrical service in concrete,” as noted
above. At the Design Charrette meeting, plaintiff, in its third amended complaint, alleges
that BES Design/Build
       notified the Government that the inclusion of underground electrical utilities
       represented a change to the Contract because that work was not included
       in the advertised statement of work and, additionally, that incorporating
       underground electrical utilities into the design would necessitate a greater




11Cindy McAleese was the first of three contracting officers to be involved in this project.
She was succeeded by Marie McGuire, who was followed by Alfredo Milan Sanchez.



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       design effort and increases in the Estimated Cost of Construction
       (“ECC”).[12]
(capitalization in original).
       On April 11, 2016, plaintiff sent in its 35% design submission with an ECC of
$2,006,545.00, along with an “Underground Utilities Alternate” with a cost of
$2,871,669.00 additional, equaling a “[t]otal cost of construction Including Alternate” of
$4,878,214.00. (capitalization in original). The 35% design stated that “all electric lines
will be relocated underground as budget allows,” without more on the subject. On April
28, 2016, the Army accepted plaintiff’s 35% design submission and included a clear
written comment, which stated the Army’s position that “[u]tility relocations are not an
alternate for construction.” The Army paid plaintiff $61,285.62 for the 35% design,
although it did not increase the project ECC.
    Plaintiff’s Assistant Project Manager, Terry Ward, responded to the Army’s design
comments in an email dated May 5, 2016 to Mr. Stone, stating:
       The utilities relocations will become part of the base bid. The utilities where
       [sic] separated due to a lack of verbiage in the task order. Updated cost
       estimates will be included with the 65% submission on 2016-05-16. The
       initial values amount indicate [sic] the utilities relocation will put the contract
       minimally over budget.
(emphasis added). Plaintiff did not include an “Underground Utilities Alternate” in any of
the subsequent percentage design submissions. Plaintiff sent in its 65% design
submission on May 16, 2016, which included an ECC of $5,744,127.00. The 65% design
stated that “all electric lines will be relocated underground as budget allows.” The Army
accepted plaintiff’s 65% design on May 31, 2016, including written comments to be
incorporated into the design, much as it had for the 35%, with the comment “official
approval of submittals is an inherantly [sic] government function that is either retained by
the KO [contracting officer] or deligated [sic] to the COR [contracting officer’s
representative].” The Army paid plaintiff $77,717.05 for the 65% design on June 15, 2016,
again without increasing the ECC.
        Plaintiff submitted its 95% design on July 6, 2016, which included a projected ECC
of $5,416,582.00. The next day, on July 7, 2016, Susan Bahng, a contracting officer’s
representative (COR) at Fort Drum Public Works, sent an email to plaintiff stating that the
plaintiff’s 95% design was incomplete for failing to incorporate the Army’s requested
Stormwater Pollution Prevention Plan and “erosion & sediment control plan.” Ms. Bahng
indicated that she would “hold off on sending out the 95% design for review until we have
complete package for the reviewers.” According to plaintiff’s third amended complaint, at
a Milestone Review following submission of the 95% design, the Army “directed Plaintiff
to make design changes to the telecommunications duct banks to reduce the number of
bends in a telecommunications service run to no more than 180° bends, with no single

12 According to plaintiff’s third amended complaint, the Army “reaffirmed its directive to
include underground electrical utilities in the design,” however, plaintiff’s third amended
complaint does not specify how the Army reaffirmed this directive to plaintiff.


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bend of more than 90°, and without any bend in excess of 180° due to cabling issues,”
which plaintiff alleges also was a change “not accounted for in the Independent
Government Estimate or the 95% ECC.” Plaintiff further alleges that the changes
“required additional trenching and materials” such that the “request by the Government
significantly increased Plaintiff’s design effort and the estimated cost of construction.” On
July 29, 2016, the Army made a partial payment to plaintiff of $43,250.00 for the 95%
design, but, according to defendant’s motion for partial summary judgment, refrained from
making full payment on the request submitted by plaintiff on account of a number of
outstanding issues.
        On August 17, 2016, representatives of the Army and plaintiff held an “On-Board
Review” meeting to discuss the 95% design and address the outstanding issues that had
warranted only partial payment, during which the Army provided plaintiff with a number of
design comments to be incorporated into the 95% design. According to the On-Board
Review meeting minutes, included in plaintiff’s appendix to the motion for partial summary
judgment, a few comments by defendant specifically referred to electrical utilities, in the
context of “Communication drawings”: “26. Electrical to building is always concrete;” “27.
Secondary: lighting, parking lots, sidewalks or area lighting circuits are not needed to go
in concrete;” and “28. Electrical should be 36” down.” The On-Board Review meeting
minutes further indicate numerous comments made regarding “Electrical drawings,”
including, as relevant to the case before the court: “16. Primary side – U/Ft U/S /500/ all
underground/ We keep the 4 ?????????????”13 and “26. They want communications and
electrical drawings reissued, and taken to the 100%. Resubmit the complete 95%
submission. They need all the profiles.” In response to inquiries from the Army about the
increased ECC, plaintiff’s Assistant Project Manager, Mr. Ward, informed the Army that,
following the revisions, the original ECC would no longer build the project, and the Army
would have to “either remove design items or increase the funding.”
        The 95% design was resubmitted on September 8, 2016, now including an ECC
of $5,187,513.00. On September 12, 2016, the Army responded to plaintiff, asserting that
the plaintiff had still failed to include elements called-for in comments to earlier
submissions, and on September 26, 2016, the Army provided plaintiff with additional
comments on the 95% design, stating that the Army would “need to backcheck[14] 100%
design submittal before approving the final design since there are still a number of
unresolved comments.” The Army’s comments included the requirement that the plaintiff,
“[i]n order to properly design” the duct banks for the underground utilities, would “need to
show all of the other existing and new utilities to ensure that there will be no conflicts” with
regard to both electrical and communications utilities. Potential conflicts in electrical and
communications utility duct banks were noted in the comments on the 95% design,
including the comments that “[t]here are still conflicts with the communication ducts and

13   The series of question marks was included in the On-Board Review meeting minutes.
14The parties frequently refer to a “100% backcheck,” or similar terms, and parties also
make reference to “backcheck review comments,” comments made to ensure the final
design comported with the government’s expectations. The parties’ use of these terms
appears to be in reference to paragraph “C.5.10 Final Back-Checked” of the SOW.


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the electrical ducts,” and “[y]ou need to check to ensure that you do not have any conflict
with maintenance hole 13 and the electrical duct banks.” According to plaintiff, the Army’s
“directive substantially increased the time and effort required by BES to complete the
design” because “Fort Drum did not have complete and accurate as-built drawings to
provide BES” for locating existing utility ducts, which necessitated “additional site
investigations to find the locations of existing infrastructures and underground utilities and
ascertain how deep they were located.” Because of these outstanding comments, the
Army reserved full acceptance of the 95% design submission and did not pay plaintiff in
full for the 95% design at that time. Plaintiff therefore advanced to the 100% design
submission, although defendant did ultimately fully pay for the 95% design submission
following the Contracting Officer’s Final Decision.
        On October 19, 2016, plaintiff sent a request by email to Ms. Bahng to submit its
100% design, “without the secondary profiles” for the underground utility ducts. The
comments received on the 95% submission had explicitly requested secondary profiles
for the underground utility ducts, and Ms. Bahng responded to plaintiff’s request by email
the same day: “Please submit complete package for 100% backcheck. Partial submittal
of 100% design is not acceptable, especially when the missing drawings are in response
to addressing the comments provided at 95% review.” Plaintiff submitted the 100% design
on October 31, 2016, which included an ECC of $5,187,513.00. On November 4, 2016,
plaintiff sent an invoice to the Army for the “[b]alance due from 95% [design] ($21,931.550
plus the 100% schedule of values ($35,760.65).” The Army, however, declined to accept
the invoice “until 100% Design is accepted and all of the required deliverables have been
submitted.” The Army stated that “[o]nce all of the comments have been resolved,” the
Army would accept the invoice.
         On November 21, 2016, the Army emailed plaintiff to “schedule a conference call
to discuss the backcheck review comments” and outlined a number of “major concerns”
the Army wished to address. Plaintiff submitted a revised 100% design on December 12,
2016, again with an ECC of $5,187,513.00. On December 22, 2016, the Army responded
with “100% backcheck comments” to be incorporated into the next submission and did
not accept the 100% design. The backcheck comments indicated continuing concern over
utility bank conflicts, such as the comment that “[y]ou also show on numerous profiles
where the existing communication duct bank is in the same location as the new duct
bank.” On January 23, 2017, plaintiff submitted its 100% design for the third time, with the
same ECC as the two previous 100% design submissions. On February 6, 2017, the Army
refused to accept the submitted 100% design for the third time because the “[s]ubmitted
drawings d[id] not reflect any of the changes stated in the comments.” The Army issued
modification W911S2-16-D-8000-0001-02 to the contract on April 24, 2017, which
extended the period of performance on the contract to September 30, 2017.
       Plaintiff submitted a fourth version of the 100% design on July 21, 2017, this time
with an ECC of $11,821,977.00. Plaintiff submitted this version of the 100% design two
additional times, once on September 19, 2017, with an ECC of $11,821,977.00, and once




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on September 29, 2017, with an ECC of $11,763,928.00.15 When the Army inquired into
the more-than-doubled ECC between the January 2017 and September 2017 100%
design submissions, plaintiff explained that “the project never was estimated to be within
the Limits of Funding, which as we discussed yesterday, was attributable to the direction
at the Design Charette to the design team to put all the electrical underground.” According
to Mr. Stone’s deposition, included in the appendix attached to plaintiff’s motion for partial
summary judgment, “somebody made a verbal acceptance of the 100 percent submittal,”
of which verbal acceptance Mr. Stone indicated he had knowledge at the time. According
to Mr. Stone’s deposition, however, Mr. Stone had no “idea who that person would have
been” who made the alleged verbal acceptance.
        On September 28, 2017, Joseph Banach, Managing Partner of BES Design/Build,
met with Mr. Stone, Fort Drum’s Acting Chief of Engineering, and then Contracting Officer
Marie McGuire. At the meeting, BES Design/Build was advised by Ms. McGuire “to submit
a Request for Equitable Adjustment (‘REA’)” for an increased design fee in light of the
plaintiff’s claimed ECC. Plaintiff submitted an REA on October 17, 2017, “in the amount
of $438,000 for consideration due to the additional design cost and professional liability
that BES Design/Build has incurred on this project as a result of the direction provided at
the Design 35% Milestone meeting.” The REA stated that “[a]t the Concept review
meeting[16] the direction and understanding provided by Mr. Fred Stone, Mr. John Desilas
and Mr. Scott Murphy was that the intent was to put the utilities underground and that this
would not be considered an option but a requirement (Encl. 3&4).” (capitalization in
original). Plaintiff’s REA calculated the amount of the REA “based on 6% of the variance
between the $11.8M final cost estimate and the $4.5M Limit of Construction.”
(capitalization in original).
       In an internal October 19, 2017 email, Fort Drum’s Acting Chief of Engineering,
Mr. Stone indicated that
       we have not officially accepted the 100% design. Based on the recent
       events, it is my recommendation that the 100% submittal be official [sic]
       rejected and the verbal acceptance be withdrawn based on the contractor’s
       recent claim for equitable adjustment.
       In my opinion, the current draft progress payment for the 100% design must
       be rejected unit [sic] we resolve the outstanding issues. Acceptance of the
       progress payment is tacit acceptance of the work.
On October 27, 2017, plaintiff reached out to the Army for “an update as to the progress
towards approving the Final Design,” and the Army replied that “[t]he progress on the final

15According to BES Design/Build, plaintiff removed the “.05% Builders Risk” line item on
September 28, 2017, which accounted for a slight decrease in the ECC in the September
29, 2017 submission of its 100% design submission.
16 The “Concept review meeting” referenced in plaintiff’s REA is not otherwise
documented in the third amended complaint, the cross-motions for partial summary
judgment, or the record before the court. Based on plaintiff’s description, the Concept
review meeting appears to have occurred following plaintiff’s 35% design submission.


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design is that it has not been approved because it was over budget and there has been
nothing through contracting for adjustments” and also that “I have been directed not pay
for any work until it is acceptable to contracting.” Despite the language of Mr. Stone’s
October 19, 2017 email that “the verbal acceptance be withdrawn,” defendant states in
its motion for partial summary judgment that “[t]he Army never accepted the 100%
design.”
       Plaintiff provided additional information to supplement the REA in response to
requests for clarification from the Army on November 13, 2017, December 5, 2017, and
February 12, 2018. Plaintiff inquired of the Army seeking information on the Army’s
decision regarding plaintiff’s REA on April 23, 2018, and again on May 7, 2018. In
response to plaintiff’s May 7, 2018 inquiry, the then Contracting Officer, Ms. McGuire,
informed plaintiff that she would have a response to BES Design/Build the following week,
however, according to plaintiff, the plaintiff received no response.
       On July 30, 2018, plaintiff submitted its certified claim for $446,051.62 to
Contracting Officer McGuire, “based on 6% of the variance between the $11.8M final cost
estimate and the $4.5M Limit of Construction.” According to defendant’s motion for partial
summary judgment in this court, the plaintiff’s certified claim “contained no information
setting forth the effort required by the alleged requirements change,” and instead
represented the “full 6% of the delta between the $4.5 million estimated cost of
construction limit and BESDB’s own estimation that the project as designed would cost
$11.8 million to construct, or an additional $446,051.62.”
        On June 26, 2019, almost two years after plaintiff submitted the fourth version of
the 100% design to the Army, the Army issued a partial termination for convenience of
the contract to plaintiff. The partial termination for convenience partially terminated the
95% design, which at the time of the termination had an outstanding balance of
$21,931.55 following the July 29, 2016 partial payment, and fully terminated the 100%
design and the RFI/Bidding Credit, worth $35,760.65 and $16,358.18, respectively. On
September 27, 2019, the Army denied plaintiff’s certified claim in a Contracting Officer’s
Final Decision, issued by then Contracting Officer Sanchez, on the basis that the
Contracting Officer could not “find where the Contracting Officer approved the increases
in the Estimated Cost of Construction (ECC) at the 65%, and 100% design submissions
nor where the Government accepted the 100% Final Design for this project.” The
Contracting Officer’s Final Decision awarded plaintiff “the remainder of the Design 95%
($4.5M ECC) in the amount of $21,931.55” because “[a] portion of the Design 95% was
invoiced and approved by the Contracting Officer at the time, therefore it can be construed
that portion was accepted by the Government.” A final payment of $21,931.55 was made
to plaintiff on September 30, 2019.
      In plaintiff’s third amended complaint filed in this court, plaintiff claims that it
      has not been compensated for its 100% design submittal, nor has it been
      compensated for the increased design fee due Plaintiff as a result of the
      Government’s directives to alter the design to include underground
      electrical utilities, an outside fiber optic cable, and the inclusion of existing
      utility duct bank profiles, which increased the estimated cost of construction



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       to over $11.7 million, approximately $7.3 million more than the original
       Independent Government Estimate and ECC.
(capitalization in original). According to plaintiff, based on all the contract documents, the
instruction to place utilities underground was beyond the scope of the contract. Also
according to plaintiff, as of the time of the partial termination, the Army owed plaintiff for
its 100% design submissions, for which plaintiff claimed a fee of $35,760.65, as well as
the $446,051.62 requested in plaintiff’s certified claim.
        Plaintiff filed its initial complaint in this court on December 13, 2019. As noted
above, the complaint was titled “Notice of Appeal,” consisted of a single page, and
described itself as a “Notice of Appeal to the United States Court of Federal Claims from
the Contracting Officer’s Final Decision (‘COFD’), which was issued on BESDB’s claim
on Contract Task Order W911S2-16-D-800-0001 on December 13, 2018.” As indicated
in the court’s December 16, 2019 Order, plaintiff’s initial complaint “did not indicate what
monetary damages plaintiff was seeking, and did not provide any factual information
about the claim except to note the date of the contracting officer’s final decision and the
number of plaintiff’s task order contract.” The court ordered plaintiff to submit a new filing
which corrects these and other issues and which “conforms to the Rules of the United
States Court of Federal Claims.” Plaintiff filed an amended complaint on February 20,
2020, in which plaintiff asserted three causes of action: “Count I – Breach of Contract,”
“Count II – Unjust Enrichment,” and “Count III – Breach of Good Faith and Fair Dealing.”
Defendant filed its answer to plaintiff’s amended complaint on May 5, 2020.
Subsequently, plaintiff filed its second amended complaint on May 22, 2020, asserting
only two causes of action: “Count I – Breach of Contract,” and “Count II – Breach of Good
Faith and Fair Dealing.” Defendant filed its answer to plaintiff’s second amended
complaint on June 5, 2020. Thereafter, plaintiff filed a third amended complaint on
September 4, 2020, asserting two causes of action: “Count I – Breach of Contract –
Failure to Pay,” and “Count II – Changes.” After discovery, a trial in the above captioned
case was scheduled to commence on February 8, 2021. On January 27, 2021, plaintiff
and defendant filed a joint motion to continue the trial, “to permit the parties to file and
fully brief cross Motions for Summary Judgment.” Following an in depth discussion with
parties at a status conference, and pursuant to the parties’ request, the court canceled
the scheduled trial. Subsequently, defendant filed its motion for partial summary judgment
on Count Two of plaintiff’s third amended complaint, followed by plaintiff’s response to
defendant’s motion for partial summary judgment and a cross-motion for partial summary
judgment on Count Two of plaintiff’s third amended complaint. The cross-motions have
been fully briefed and oral argument was held on the cross-motions.
                                    DISCUSSION
        In this court, defendant moves for partial summary judgment on Count Two17 of
plaintiff’s third amended complaint, pursuant to Rule 56 (2020) of the Rules of the Court
of Federal Claims (RCFC). Defendant’s motion cites isolated sections of the relevant
documents and argues that the design fee limitation clause included in the contract,

17 Count One of plaintiff’s third amended complaint, “Breach of Contract – Failure to Pay,”
is not the subject of either party’s current motion for partial summary judgment.


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DFARS 236.606-70, “Statutory fee limitation,” does not permit plaintiff to recover
automatically for an increased ECC, particularly when the increase is only proposed by
the contractor and not accepted by the government. Defendant argues that DFARS
236.606-70 applies the design fee limitation “only to the design-specific services to be
provided under the architect-engineer contract, and is calculated based on the
Government’s estimated cost of the construction project at the time the contract is entered
into.” Further, defendant argues, “the design fee can only increase in specific situations,
and does not automatically increase based on the contractor’s estimated cost of
construction,” and that “a central tenet of Federal procurement law is that contracts may
not be drafted in a way that ties the costs a contractor incurs to the fee that it receives
under the contract.” According to defendant, “[t]he only way by which BESDB [BES
Design/Build] could be entitled to an increase in its design fee would be in conjunction
with the design within funding limitations clause – FAR 52.236-22 – which gives the
Government the option to increase the estimated cost of construction at its discretion,”
but “[t]hough BESDB submitted designs estimating the cost as over the Army’s $4 million
estimate, the Army did not determine that the construction cost would need to be
increased.” (capitalization in original).
        Defendant additionally argues that plaintiff cannot recover because plaintiff has
failed to provide appropriate cost data to support its claim in either plaintiff’s certified claim
or plaintiff’s request for equitable adjustment. According to defendant, “[n]either the
request for equitable adjustment nor certified claim seek recovery based on the effort
involved in performing the allegedly out-of-scope work,” relying instead on six percent of
the difference between plaintiff’s final ECC and the contract’s ceiling price of
$4,500,000.00. Defendant argues that “BESDB’s own submissions to the Army concede
that the amount it seeks includes work that was included in the base bid,” a discrepancy
which, according to defendant, was not rectified by the later submission of supplemental
information to the contracting officer in support of the request for equitable adjustment.
       Plaintiff responded to defendant’s motion for partial summary judgment and filed a
cross-motion for partial summary judgment on Count Two of the third amended complaint
pursuant to RCFC 56. Plaintiff’s response argues that defendant has misrepresented the
text and meaning of DFARS 236.606-70. In particular, plaintiff argues that DFARS
236.606-70 does not limit the contractor’s design fee to six percent of the estimated cost
of construction at the time the contract is formed, and that the text of DFARS 236.606-70
contemplates the application of the six percent limit to work not originally required by the
contract. Also citing isolated portions of the relevant documents, plaintiff argues that the
PWS referred to relocating utilities underground in the context of communications utilities,
but not electrical utilities. According to plaintiff, “[i]ncluding the word ‘underground’ in the
section governing communications utilities, but excluding it from the immediately
preceding section, on the same page, must mean that it was intentionally excluded from
the section governing electrical utilities.” Therefore, according to plaintiff, the Army’s
requirement to relocate overhead electrical utilities underground “constitut[ed] a
constructive change order” by which plaintiff “is entitled to a change order as a matter of
law.” Plaintiff further argues, in response to defendant’s argument that plaintiff’s claim is
unsupported by sufficient cost data to show the value of the work attributable to the
alleged change, that “BES in fact incurred costs that exceeded the amount of the six


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percent of the increased estimated cost of construction.” According to plaintiff, because
“BES’s fee is statutorily set at six percent of the total estimated construction, or, if
subsequent modifications are made, six percent of the revised total construction cost,”
plaintiff’s claim “is not for the entire amount of its costs, but instead is submitted as the
statutorily authorized percentage of the estimated cost of construction.” According to
plaintiff, “BES provided its costs data to the Government on numerous occasions in
support of its request for compensation.” Moreover, according to plaintiff, in both the REA
and the certified claim, “BES submitted actual cost data [sic] Government.” Plaintiff
contends it supplemented its REA in response to the contracting officer’s request for
additional information with “a spreadsheet documenting the increased costs incurred as
a result of the increased design work,” which “was also fully supported by timesheets
verifying actual hours worked as well as invoices.” According to plaintiff, “[t]hat
documentation was also included in BES’s Certified Claim.” Plaintiff argues that, at a
minimum, all this information “creat[ed] an issue of fact, making summary judgment
inappropriate.”
         Additionally, plaintiff’s cross-motion for partial summary judgment on Count Two
of plaintiff’s third amended complaint argues that the documents which created the
contract between plaintiff and the Army did not include a requirement that electrical
utilities be placed underground, so the Army’s direction to relocate electrical utilities
underground “constitute[d] a constructive change” to the contract. Plaintiff argues that
“the language of the Task Order plainly and unambiguously does not require underground
electrical utilities,” (emphasis in original). As also noted above, plaintiff tries to rely on the
dichotomy between the electrical utilities section of the PWS noting that “[c]uriously
absent from that section is any reference to anything being located or designed
underground” and the immediately following communications utilities section. Plaintiff
argues that “[b]y including the word ‘underground’ in the section governing
communications utilities, but excluding it from the immediately preceding section, on the
same page, must mean that it was intentionally excluded from the section governing
electrical utilities.” (all emphasis in original). Plaintiff argues that “[t]he doctrine of
expressio unius est exclusio alterius[18] applies, and the inclusion of the word
‘underground’ as it relates to communications utilities implies the exclusion of the word
‘underground’ as it relates to electrical utilities.” (emphasis in original). Plaintiff further
argues that this
       analysis can lead to only one interpretation of the language of the Task
       Order: communications utilities were required to be relocated underground,
       but electrical utilities were not required to be relocated underground.
       Therefore, underground electrical utilities are outside the scope of the Task
       Order and any requirement or directive of the Government to place electrical
       utilities underground constituted a change order.
(emphasis in original). Plaintiff further argues that the Army’s requirement that plaintiff
“design underground electrical utilities” amounted to an order that exceeded the contract’s
scope of work and, therefore, “constitute[d] a constructive change” entitling plaintiff to

18“A canon of construction holding that to express or include one thing implies the
exclusion of the other, or of the alternative.” Black’s Law Dictionary (11th ed. 2019).


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relief. Plaintiff, quoting Wunderlich Contracting Co. v. United States, 173 Ct. Cl. 180, 199
(1965), contends that BES Design/Build “‘need not prove damages with absolute certainty
or mathematical exactitude’” to recover, but need only “‘furnish[] the court with a
reasonable basis for computation,’” which plaintiff claims to have done by submitting
actual cost data in support of its REA and certified claim.
         Defendant responds that “[t]he only issue necessary to be determined in entering
summary judgment here is the correct application of Defense Federal Acquisition
Regulation System (DFARS) 236.606-70.” Defendant argues that in architect-engineer
contracts, “the fee limitation is established at the time the contract is entered into.”
(emphasis in original). Defendant further argues that FAR 52.236-22, “Design Within
Funding Limitations (Apr 1984),” “states that the estimated cost of construction can only
be increased in specific situations, namely where the architect-engineer contractor
requests that the Government raise the estimated cost, and the Government does so,”
which according to defendant, “BES did not do so here.” (capitalization in original).
According to defendant, plaintiff’s documents containing its alleged cost data to support
its REA and certified claim “fail to specifically segregate costs incurred for the claimed
changes alone, and lack sufficient detail to determine that the costs were in fact incurred
for extra work and not simply for original contract work,” and therefore cannot support
plaintiff’s claims. Defendant also argues that “from the start of performance, the contract
documents required BESDB to place some electrical underground and to encase some
parts in concrete. Thus, this was not additional work that would have resulted in any
increased costs.” Defendant points out that the IDG indicates that “[u]nsightly overhead
utilities should be relocated underground wherever possible” and that “[p]ower distribution
lines should also be located underground,” as part of its argument that “the contract
incorporated the Fort Drum IDG in its requirements,” including that the IDG required that
“where practicable and possible, electrical utility lines were to be located underground.”
Moreover, defendant argues that even if the requirement were not included in the
contract, the alleged constructive change was not approved by an individual with authority
to bind the government, and plaintiff did not notify the government of a perceived change,
as required by the contract.
        In its reply brief, plaintiff again urges that “[t]he plain language of the Performance
Work Statement . . . specifically required telecommunications to be relocated
underground,” while “the section governing electrical utilities excluded any reference to
anything being located underground,” and argues that the IDG, upon which defendant
relies, “is replete with language that is permissive – not mandatory – and does not impose
any affirmative contractual obligation on BES.” Plaintiff further argues that the order to
place electrical utilities underground came from an official with authority to bind the
government or, in the alternative, was ratified by an official with such authority, namely
the contracting officer at the Design Charrette meeting, Ms. McAleese, who plaintiff
alleges “made no attempt to stop Mr. Stone (or anyone else) from directing or demanding
work outside the scope of the IDIQ contract.” Additionally, plaintiff asserts that it properly
notified the Army that a change to the contract had occurred and that its REA and certified
claim were supported by proper cost data.
       RCFC 56 is similar to Rule 56 of the Federal Rules of Civil Procedure in language
and effect. Both rules provide that “[t]he court shall grant summary judgment if the movant


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shows that there is no genuine dispute as to any material fact and the movant is entitled
to judgment as a matter of law.” RCFC 56(a); Fed. R. Civ. P. 56(a) (2021); see also Young
v. United Parcel Serv., Inc., 135 S. Ct. 1338, 1355 (2015), Alabama v. North Carolina,
560 U.S. 330, 344 (2010); Hunt v. Cromartie, 526 U.S. 541, 549 (1999); Anderson v.
Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986); Shell Oil Co. v. United States, 7 F.4th
1165, 1171 (Fed. Cir. 2021); Authentic Apparel Grp., LLC v. United States, 989 F.3d 1008,
1014 (Fed. Cir. 2021); Biery v. United States, 753 F.3d 1279, 1286 (Fed. Cir.), reh’g and
reh’g en banc denied (Fed. Cir. 2014); Ladd v. United States, 713 F.3d 648, 651 (Fed.
Cir. 2013); Minkin v. Gibbons, P.C., 680 F.3d 1341, 1349 (Fed. Cir. 2012); Noah Sys.,
Inc. v. Intuit Inc., 675 F.3d 1302, 1309-10 (Fed. Cir. 2012); Advanced Fiber Techs. (AFT)
Trust v. J & L Fiber Servs., Inc., 674 F.3d 1365, 1372 (Fed. Cir.), reh’g and reh’g en banc
denied (Fed. Cir. 2012); Fujitsu Ltd. v. Netgear Inc., 620 F.3d 1321, 1325 (Fed. Cir.), reh’g
denied (Fed. Cir. 2010); Consol. Coal Co. v. United States, 615 F.3d 1378, 1380 (Fed.
Cir.), reh’g and reh’g en banc denied (Fed. Cir. 2010), cert. denied, 564 U.S. 1004 (2011);
1st Home Liquidating Trust v. United States, 581 F.3d 1350, 1355 (Fed. Cir. 2009); Arko
Exec. Servs., Inc. v. United States, 553 F.3d 1375, 1378 (Fed. Cir. 2009); Casitas Mun.
Water Dist. v. United States, 543 F.3d 1276, 1283 (Fed. Cir. 2008), reh’g and reh’g en
banc denied, 556 F.3d 1329 (Fed. Cir. 2009); Moden v. United States, 404 F.3d 1335,
1342 (Fed. Cir.), reh’g and reh’g en banc denied (Fed. Cir. 2005); Am. Pelagic Fishing
Co., L.P. v. United States, 379 F.3d 1363, 1370-71 (Fed. Cir.), reh’g en banc denied (Fed.
Cir. 2004), cert. denied, 545 U.S. 1139 (2005); Mata v. United States, 114 Fed. Cl. 736,
744 (2014); Leggitte v. United States, 104 Fed. Cl. 315, 317 (2012); Arranaga v. United
States, 103 Fed. Cl. 465, 467-68 (2012); Cohen v. United States, 100 Fed. Cl. 461, 469
(2011); Boensel v. United States, 99 Fed. Cl. 607, 610 (2011).

        A fact is material if it will make a difference in the result of a case under the
governing law. See Anderson v. Liberty Lobby, Inc., 477 U.S. at 248; see also Marriott
Int’l Resorts, L.P. v. United States, 586 F.3d 962, 968 (Fed. Cir. 2009) (quoting Anderson
v. Liberty Lobby, Inc., 477 U.S. at 248); Mata v. United States, 114 Fed. Cl. at 744;
Arranaga v. United States, 103 Fed. Cl. at 467-68; Thompson v. United States, 101 Fed.
Cl. 416, 426 (2011); Cohen v. United States, 100 Fed. Cl. at 469. Irrelevant or
unnecessary factual disputes do not preclude the entry of summary judgment. See
Anderson v. Liberty Lobby, Inc., 477 U.S. at 247-48; see also Scott v. Harris, 550 U.S.
372, 380 (2007); Monon Corp. v. Stoughton Trailers, Inc., 239 F.3d 1253, 1257 (Fed. Cir.
2001); Gorski v. United States, 104 Fed. Cl. 605, 609 (2012); Walker v. United States, 79
Fed. Cl. 685, 692 (2008); Curtis v. United States, 144 Ct. Cl. 194, 199, 168 F. Supp. 213,
216 (1958), cert. denied, 361 U.S. 843 (1959), reh’g denied, 361 U.S. 941 (1960).

       When reaching a summary judgment determination, the judge’s function is not to
weigh the evidence and determine the truth of the case presented, but to determine
whether there is a genuine issue for trial. See Anderson v. Liberty Lobby, Inc., 477 U.S.
at 249; see, e.g., Schlup v. Delo, 513 U.S. 298, 332 (1995); BASF Corp. v. SNF Holding
Co., 955 F.3d 958, 963 (Fed. Cir. 2020); TigerSwan, Inc. v. United States, 118 Fed. Cl.
447, 451 (2014); Dana R. Hodges Trust v. United States, 111 Fed. Cl. 452, 455 (2013);
Cohen v. United States, 100 Fed. Cl. at 469-70; Boensel v. United States, 99 Fed. Cl. at
611; Macy Elevator, Inc. v. United States, 97 Fed. Cl. 708, 717 (2011); Dick



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Pacific/GHEMM, JV ex rel. W.A. Botting Co. v. United States, 87 Fed. Cl. 113, 126 (2009);
Johnson v. United States, 49 Fed. Cl. 648, 651 (2001), aff’d, 52 F. App’x 507 (Fed. Cir.
2002), published at 317 F.3d 1331 (Fed. Cir. 2003). The judge must determine whether
the evidence presents a disagreement sufficient to require submission to fact finding, or
whether the issues presented are so one-sided that one party must prevail as a matter of
law. See Anderson v. Liberty Lobby, Inc., 477 U.S. at 250-52; Jay v. Sec’y of Health and
Human Servs., 998 F.2d 979, 982 (Fed. Cir.), reh’g denied and en banc suggestion
declined (Fed. Cir. 1993); Leggitte v. United States, 104 Fed. Cl. at 316. When the record
could not lead a rational trier of fact to find for the nonmoving party, there is no genuine
issue for trial, and the motion must be granted. See, e.g., Matsushita Elec. Indus. Co. v.
Zenith Radio Corp., 475 U.S. 574, 587 (1986); Advanced Fiber Techs. (AFT) Trust v. J &
L Fiber Servs., Inc., 674 F.3d at 1372; Marriott Int’l Resorts, L.P. v. United States, 586
F.3d at 968; Am. Seating Co. v. USSC Grp., Inc., 514 F.3d 1262, 1266 (Fed. Cir.), reh’g
en banc denied (Fed. Cir. 2008); Rothe Dev. Corp. v. U.S. Dep’t of Def., 262 F.3d 1306,
1316 (Fed. Cir. 2001); Hall v. Aqua Queen Mfg., Inc., 93 F.3d 1548, 1553 n.3 (Fed. Cir.
1996). In such cases, there is no need for the parties to undertake the time and expense
of a trial, and the moving party should prevail without further proceedings.

       In appropriate cases, summary judgment

       saves the expense and time of a full trial when it is unnecessary. When the
       material facts are adequately developed in the motion papers, a full trial is
       useless. “Useless” in this context means that more evidence than is already
       available in connection with the motion for summary judgment could not
       reasonably be expected to change the result.

Dehne v. United States, 23 Cl. Ct. 606, 614-15 (1991) (quoting Pure Gold, Inc. v. Syntex,
(U.S.A.) Inc., 739 F.2d 624, 626 (Fed. Cir. 1984)) (citation omitted), vacated on other
grounds, 970 F.2d 890 (Fed. Cir. 1992); see also Vivid Techs., Inc. v. Am. Sci. & Eng’g,
Inc., 200 F.3d 795, 806 (Fed. Cir. 1999) (“The purpose of summary judgment is not to
deprive a litigant of a trial, but to avoid an unnecessary trial when only one outcome can
ensue.”); Metric Constr. Co., Inc. v. United States, 73 Fed. Cl. 611, 612 (2006).

         Summary judgment, however, will not be granted if “the dispute about a material
fact is ‘genuine,’ that is, if the evidence is such that a reasonable [trier of fact] could return
a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. at 248; see
also Long Island Sav. Bank, FSB v. United States, 503 F.3d 1234, 1244 (Fed. Cir.), reh’g
and reh’g en banc denied (Fed. Cir. 2007), cert. denied, 555 U.S. 812 (2008); Eli Lilly &
Co. v. Barr Labs., Inc., 251 F.3d 955, 971 (Fed. Cir.), reh’g and reh’g en banc denied
(Fed. Cir. 2001), cert. denied, 534 U.S. 1109 (2002); Gen. Elec. Co. v. Nintendo Co., 179
F.3d 1350, 1353 (Fed. Cir. 1999); TigerSwan, Inc. v. United States, 118 Fed. Cl. at 451;
Stephan v. United States, 117 Fed. Cl. 68, 70 (2014); Gonzales-McCaulley Inv. Grp., Inc.
v. United States, 101 Fed. Cl. 623, 629 (2011). In other words, if the nonmoving party
produces sufficient evidence to raise a question as to the outcome of the case, then the
motion for summary judgment should be denied. Any doubt over factual issues must be
resolved in favor of the party opposing summary judgment, to whom the benefit of all



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presumptions and inferences runs. See Ricci v. DeStefano, 557 U.S. 557, 586 (2009);
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. at 587-88; Yant v. United
States, 588 F.3d 1369, 1371 (Fed. Cir. 2009), cert. denied, 562 U.S. 827 (2010);
Dethmers Mfg. Co. v. Automatic Equip. Mfg. Co., 272 F.3d 1365, 1369 (Fed. Cir. 2001),
reh’g and reh’g en banc denied, 293 F.3d 1364 (Fed. Cir. 2002), cert. denied, 539 U.S.
957 (2003); Monon Corp. v. Stoughton Trailers, Inc., 239 F.3d at 1257; Wanlass v.
Fedders Corp., 145 F.3d 1461, 1463 (Fed. Cir.), reh’g denied and en banc suggestion
declined (Fed. Cir. 1998); see also Am. Pelagic Co. v. United States, 379 F.3d at 1371
(citing Helifix Ltd. v. Blok-Lok, Ltd., 208 F.3d 1339, 1345-46 (Fed. Cir. 2000)); Dana R.
Hodges Trust v. United States, 111 Fed. Cl. at 455; Boensel v. United States, 99 Fed. Cl.
at 611 (“‘The evidence of the nonmovant is to be believed, and all justifiable inferences
are to be drawn in his favor.’” (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. at 255)
(citing Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. at 587-88; Casitas
Mun. Water Dist. v. United States, 543 F.3d at 1283; and Lathan Co. Inc. v. United States,
20 Cl. Ct. 122, 125 (1990))); see also Am. Seating Co. v. USSC Grp., Inc., 514 F.3d at
1266-67; Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d at 807. “However, once a
moving party satisfies its initial burden, mere allegations of a genuine issue of material
fact without supporting evidence will not prevent entry of summary judgment.” Republic
Sav. Bank, F.S.B. v. United States, 584 F.3d 1369, 1374 (Fed. Cir. 2009); see also
Anderson v. Liberty Lobby, Inc., 477 U.S. at 247-48; Univ. South Florida v. United States,
146 Fed. Cl. 274, 280 (2019).

       The initial burden on the party moving for summary judgment to produce evidence
showing the absence of a genuine issue of material fact may be discharged if the moving
party can demonstrate that there is an absence of evidence to support the nonmoving
party’s case. See Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986); see also Riley &
Ephriam Constr. Co. v. United States, 408 F.3d 1369, 1371 (Fed. Cir. 2005); Crown
Operations Int’l Ltd. v. Solutia Inc., 289 F.3d 1367, 1377 (Fed. Cir.), reh’g denied (Fed.
Cir. 2002); Trilogy Commc’ns, Inc. v. Times Fiber Commc’ns, Inc., 109 F.3d 739, 741
(Fed. Cir.) (quoting Conroy v. Reebok Int’l, Ltd., 14 F.3d 1570, 1575 (Fed. Cir. 1994),
reh’g denied and en banc suggestion declined (Fed. Cir. 1995)), reh’g denied and en
banc suggestion declined (Fed. Cir. 1997); Lockwood v. Am. Airlines, Inc., 107 F.3d 1565,
1569 (Fed. Cir. 1997); Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d at 807; RQ
Squared, LLC v. United States, 119 Fed. Cl. 751, 757-58 (2015), subsequent
determination, 129 Fed. Cl. 742 (2017), aff’d, 708 F. App’x 685 (Fed. Cir. 2018). If the
moving party makes such a showing, the burden shifts to the nonmoving party to
demonstrate that a genuine dispute regarding a material fact exists by presenting
evidence which establishes the existence of an element essential to its case upon which
it bears the burden of proof. See Celotex Corp. v. Catrett, 477 U.S. at 322; see also
Wavetronix LLC v. EIS Elec. Integrated Sys., 573 F.3d 1343, 1354 (Fed. Cir. 2009); Long
Island Sav. Bank, FSB v. United States, 503 F.3d at 1244; Fla. Power & Light Co. v.
United States, 375 F.3d 1119, 1124 (Fed. Cir. 2004); Am. Airlines, Inc. v. United States,
204 F.3d 1103, 1108 (Fed. Cir. 2000); Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200
F.3d at 807; Rasmuson v. United States, 109 Fed. Cl. 267, 271 (2013). However, “a non-
movant is required to provide opposing evidence under Rule 56(e) only if the moving party




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has provided evidence sufficient, if unopposed, to prevail as a matter of law.” Saab Cars
USA, Inc. v. United States, 434 F.3d 1359, 1369 (Fed. Cir. 2006).

        Even if both parties argue in favor of summary judgment and allege an absence of
genuine issues of material fact, the court is not relieved of its responsibility to determine
the appropriateness of summary disposition in a particular case, and it does not follow
that summary judgment should be granted to one side or the other. See Prineville Sawmill
Co. v. United States, 859 F.2d 905, 911 (Fed. Cir. 1988) (citing Mingus Constructors, Inc.
v. United States, 812 F.2d 1387, 1391 (Fed. Cir. 1987)); see also Marriott Int’l Resorts,
L.P. v. United States, 586 F.3d at 968-69; Bubble Room, Inc. v. United States, 159 F.3d
553, 561 (Fed. Cir. 1998) (“The fact that both the parties have moved for summary
judgment does not mean that the court must grant summary judgment to one party or the
other.”), reh’g denied and en banc suggestion declined (Fed. Cir. 1999); Massey v. Del
Labs., Inc., 118 F.3d 1568, 1573 (Fed. Cir. 1997); B.F. Goodrich Co. v. U.S. Filter Corp.,
245 F.3d 587, 593 (6th Cir. 2001); Atl. Richfield Co. v. Farm Credit Bank of Wichita, 226
F.3d 1138, 1148 (10th Cir. 2000); Chevron USA, Inc. v. Cayetano, 224 F.3d 1030, 1037
n.5 (9th Cir. 2000), cert. denied, 532 U.S. 942 (2001); Allstate Ins. Co. v. Occidental Int’l,
Inc., 140 F.3d 1, 2 (1st Cir. 1998); LewRon Television, Inc. v. D.H. Overmyer Leasing
Co., 401 F.2d 689, 692 (4th Cir. 1968), cert. denied, 393 U.S. 1083 (1969); Rogers v.
United States, 90 Fed. Cl. 418, 427 (2009), subsequent determination, 93 Fed. Cl. 607
(2010), aff’d, 814 F.3d 1299 (2015); Consol. Coal Co. v. United States, 86 Fed. Cl. 384,
387 (2009), aff’d, 615 F.3d 1378 (Fed. Cir.), and reh’g and reh’g en banc denied (Fed.
Cir. 2010), cert. denied, 564 U.S. 1004 (2011); St. Christopher Assocs., L.P. v. United
States, 75 Fed. Cl. 1, 8 (2006), aff’d, 511 F.3d 1376 (Fed. Cir. 2008); Reading & Bates
Corp. v. United States, 40 Fed. Cl. 737, 748 (1998). The court must evaluate each party’s
motion on its own merits, taking care to draw all reasonable inferences against the party
whose motion is under consideration, or, otherwise stated, in favor of the non-moving
party. See First Commerce Corp. v. United States, 335 F.3d 1373, 1379 (Fed. Cir.), reh’g
and reh’g en banc denied (Fed. Cir. 2003); see also DeMarini Sports, Inc. v. Worth, Inc.,
239 F.3d 1314, 1322 (Fed. Cir. 2001); Gart v. Logitech, Inc., 254 F.3d 1334, 1338-39
(Fed. Cir.), reh’g and reh’g en banc denied (Fed. Cir. 2001), cert. denied, 534 U.S. 1114
(2002); Oswalt v. United States, 85 Fed. Cl. 153, 158 (2008); Telenor Satellite Servs.,
Inc. v. United States, 71 Fed. Cl. 114, 119 (2006).

        In the case currently before the court, the parties have raised issues of contract
interpretation including plaintiff’s argument that “the language of the Task Order plainly
and unambiguously does not require underground electrical utilities.” (emphasis in
original). Defendant responds that “from the start of performance, the contract documents
required BESDB to place some electrical underground and to encase some parts in
concrete,” whereas plaintiff argues that the contract did not require underground
placement for any of the utilities. “Contract interpretation starts with the language of the
contract.” SUFI Network Servs., Inc. v. United States, 785 F.3d 585, 593 (Fed. Cir. 2015);
see also NOAA Maryland, LLC v. Adm’r of Gen. Servs. Admin., 997 F.3d 1159, 1165
(Fed. Cir. 2021); Authentic Apparel Grp., LLC v. United States, 989 F.3d at 1014; Premier
Office Complex of Parma, LLC v. United States, 916 F.3d 1006, 1011 (Fed. Cir. 2019)
(citing NVT Techs., Inc. v. United States, 370 F.3d 1153, 1159 (Fed. Cir. 2004)); Precision



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Pine & Timber, Inc. v. United States, 596 F.3d 817, 824 (Fed. Cir. 2010), cert. denied,
562 U.S. 1178 (2011); Bell/Heery v. United States, 739 F.3d 1324, 1331 (Fed. Cir.), reh’g
and reh’g en banc denied (Fed. Cir. 2014); LAI Servs., Inc. v. Gates, 573 F.3d 1306, 1314
(Fed. Cir.), reh’g denied (Fed. Cir. 2009); Barron Bancshares, Inc. v. United States, 366
F.3d 1360, 1375 (Fed. Cir. 2004); Foley Co. v. United States, 11 F.3d 1032, 1034 (Fed.
Cir. 1993); HCIC Enters., LLC v. United States, 147 Fed. Cl. 118, 124 (2020); Nw. Title
Agency, Inc. v. United States, 126 Fed. Cl. 55, 57-58 (2016) (citing Foley Co. v. United
States, 11 F.3d at 1034) (“The starting point for any contract interpretation is the plain
language of the agreement.”), aff’d, 855 F.3d 1344 (Fed. Cir. 2017); Beard v. United
States, 125 Fed. Cl. 148, 158 (2016); Eden Isle Marina, Inc. v. United States, 113 Fed.
Cl. 372, 483-84 (2013).
       “‘“In contract interpretation, the plain and unambiguous meaning of a written
agreement controls.”’” Arko Exec. Servs., Inc. v. United States, 553 F.3d at 1379 (quoting
Hercules Inc. v. United States, 292 F.3d 1378, 1380-81 (Fed. Cir.), reh’g and reh’g en
banc denied (Fed. Cir. 2002) (quoting Craft Mach. Works, Inc. v. United States, 926 F.2d
1110, 1113 (Fed. Cir. 1991))). “Terms must be given their plain meaning if the language
of the contract is clear and unambiguous.” SUFI Network Servs., Inc. v. United States,
785 F.3d at 593 (citing Coast Fed. Bank, FSB v. United States, 323 F.3d 1035, 1038
(Fed. Cir. 2003)); see also Canpro Invs. Ltd. v. United States, 130 Fed. Cl. 320, 347,
recons. denied, 131 Fed. Cl. 528 (2017); Beard v. United States, 125 Fed. Cl. at 158 (“If
the contract language is unambiguous, then it must be given its plain and ordinary
meaning . . . .”). The United States Court of Appeals for the Federal Circuit stated in
Massie v. United States:

       In interpreting a contract, “[w]e begin with the plain language.” “We give the
       words of the agreement their ordinary meaning unless the parties mutually
       intended and agreed to an alternative meaning.” In addition, “[w]e must
       interpret the contract in a manner that gives meaning to all of its provisions
       and makes sense.”

Massie v. United States, 166 F.3d 1184, 1189 (Fed. Cir. 1999) (quoting McAbee Constr.,
Inc. v. United States, 97 F.3d 1431, 1435 (Fed. Cir.), reh’g denied and en banc suggestion
declined (Fed. Cir. 1996) (internal citations omitted)); Jowett, Inc. v. United States, 234
F.3d 1365, 1368 (Fed. Cir. 2000) (quoting McAbee Constr., Inc. v. United States, 97 F.3d
at 1435; and Harris v. Dep’t of Veterans Affairs, 142 F.3d 1463, 1467 (Fed. Cir. 1998));
Harris v. Dep’t of Veterans Affairs, 142 F.3d at 1467; see also Coast Prof’l, Inc. v. United
States, 828 F.3d 1349, 1354 (Fed. Cir. 2016); Shell Oil Co. v. United States, 751 F.3d
1282, 1305 (Fed. Cir.), reh’g en banc denied (Fed. Cir. 2014); McHugh v. DLT Sols., Inc.,
618 F.3d 1375, 1380 (Fed. Cir. 2010); Giove v. Dep’t of Transp., 230 F.3d 1333, 1340-41
(Fed. Cir. 2000) (“In addition, we must interpret the contract in a manner that gives
meaning to all of its provisions and makes sense. Further, business contracts must be
construed with business sense, as they naturally would be understood by intelligent men
of affairs.” (citations omitted)); Gould, Inc. v. United States, 935 F.2d 1271, 1274 (Fed.
Cir. 1991) (indicating that a preferable interpretation of a contract is one that gives
meaning to all parts of the contract rather than one that leaves a portion of the contract
“useless, inexplicable, void, or superfluous”). A Judge of the United States Court of


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Federal Claims has explained:

       “The words of a contract are deemed to have their ordinary meaning
       appropriate to the subject matter, unless a special or unusual meaning of a
       particular term or usage was intended, and was so understood by the
       parties.” Lockheed Martin IR Imaging Sys., Inc. v. West, 108 F.3d 319, 322
       (Fed. Cir. 1997). “Under general rules of contract law we are to interpret
       provisions of a contract so as to make them consistent.” Abraham v.
       Rockwell Int’l Corp., 326 F.3d 1242, 1251 (Fed. Cir. 2003). “[A]n agreement
       is not to be read in a way that places its provisions in conflict, when it is
       reasonable to read the provisions in harmony. . . . [T]he provisions must be
       read together in order to implement the substance and purpose of the entire
       agreement.” Air-Sea Forwarders, Inc. v. United States, 166 F.3d 1170, 1172
       (Fed. Cir. 1999). “A reasonable interpretation must assure that no contract
       provision is made inconsistent, superfluous, or redundant.” Medlin Const.
       Grp., Ltd. v. Harvey, 449 F.3d 1195, 1200 (Fed. Cir. 2006) (internal
       quotation marks omitted).

Dynetics, Inc. v. United States, 121 Fed. Cl. 492, 512 (2015); see also Marquardt Co. v.
United States, 101 Fed. Cl. 265, 269 (2011) (“In interpreting contractual language, the
court must give reasonable meaning to all parts of the contract and avoid rendering
portions of the contract meaningless.” (citation omitted)).

        The Federal Circuit also has indicated that “‘[t]he contract must be construed to
effectuate its spirit and purpose giving reasonable meaning to all parts of the contract.’”
Arko Exec. Servs., Inc. v. United States, 553 F.3d at 1379 (quoting Hercules Inc. v. United
States, 292 F.3d at 1380-81); see also LAI Servs., Inc. v. Gates, 573 F.3d at 1314;
Gardiner, Kamya & Assocs., P.C. v. Jackson, 467 F.3d 1348, 1353 (Fed. Cir. 2006)
(citations omitted); Medlin Constr. Grp., Ltd. v. Harvey, 449 F.3d at 1200; Hunt Constr.
Grp., Inc. v. United States, 281 F.3d 1369, 1372 (Fed. Cir. 2002) (“We begin with the plain
language when interpreting a contract . . . . The contract must be considered as a whole
and interpreted to effectuate its spirit and purpose, giving reasonable meaning to all
parts.” (citations omitted)); Beard v. United States, 125 Fed. Cl. at 158 (“In construing the
meaning of a contractual provision, the court does not interpret the disputed term or
phrase in isolation, but ‘construes contract terms in the context of the entire contract,
avoiding any meaning that renders some part of the contract inoperative.’” (quoting Pac.
Gas & Elec. Co. v. United States, 536 F.3d 1282, 1288 (Fed. Cir. 2008))).

       It has been “‘a fundamental precept of common law that the intention of the parties
to a contract controls its interpretation.’” Tri-Star Elecs. Int’l, Inc. v. Preci-Dip Durtal SA,
619 F.3d 1364, 1367 (Fed. Cir. 2010) (quoting Beta Sys., Inc. v. United States, 838 F.2d
1179, 1185 (Fed. Cir. 1988) (quoting Firestone Tire & Rubber Co. v. United States, 444
F.2d 547, 551, 195 Ct. Cl. 21, 30 (1971))); Alvin, Ltd. v. United States Postal Serv., 816
F.2d 1562, 1565 (Fed. Cir. 1987) (“In the case of contracts, the avowed purpose and
primary function of the court is the ascertainment of the intent of the parties.”); see also
Flexfab, LLC v. United States, 424 F.3d 1254, 1262 (Fed. Cir. 2005) (“[I]ntent is



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determined by looking to the contract and, if necessary, other objective evidence. In the
absence of clear guidance from the contract language, the requisite intent on the part of
the government can be inferred from the actions of the contracting officer . . . .”); LaBatte
v. United States, 142 Fed. Cl. 425, 433 (2019) (citations omitted); Canpro Invs. Ltd. v.
United States, 130 Fed. Cl. at 347 (“Contract interpretation requires determining the
intention of the parties.”).

        As noted above, this court is presented with cross-motions for partial summary
judgment on Count Two of the plaintiff’s third amended complaint regarding plaintiff’s
alleged “entitle[ment] to a change order to increase the ECC to account for the
Government-directed changes to the design requirements” and corresponding
entitlement to an increased design fee. Although the parties have filed cross-motions for
partial-summary judgment, and motions for summary judgment may only be filed if a party
believes no material facts are in dispute, the court has an independent duty to determine
whether a genuine issue of material fact exists. See Marriott Int’l Resorts, L.P. v. United
States, 586 F.3d at 968-69. According to defendant, “[n]o material facts are in dispute
and plaintiff has failed to prove the essential elements of its claim.” While plaintiff does
not explicitly state that no genuine issues of material fact exist with respect to its cross-
motion for summary judgment on Count Two, plaintiff does argue that it

       is entitled to partial summary judgment on Count II of its Third Amended
       Complaint, and an award of damages in the amount of $435,835.68,
       representing 6% of the difference between the LOC ($4,500,000) and the
       100% Backcheck Cost of Construction ($11,763,928), plus interest from
       July 30, 2018 until the date it is paid.

As indicated above, when responding to defendant’s motion for partial summary
judgment, plaintiff argues that BES Design/Build has at minimum “creat[ed] an issue of
fact, making summary judgment inappropriate.” Plaintiff alleges that BES tried to inform
the Army in some fashion that the contractor perceived changes to the contract were
occurring, at first, by responding to the Army’s stated requirements regarding
underground utilities at the Design Charrette meeting, and then by including increasing
ECCs in the 35%, 65%, 95%, and 100% written submissions to successive contracting
officers. Questions remain, however, regarding whether what plaintiff did was sufficient
and whether a change in accordance with the contract documents, in fact, occurred.
Plaintiff’s response that placing the utilities underground was a change at the Design
Charrette meeting appears to have been oral. The design submissions, at 35% and 65%,
as well as multiple 95% submissions and multiple 100% submissions, were submitted in
writing to successive contracting officers, and each included plaintiff’s revised ECC
numbers, which, as described above, increased over the course of the successive
submissions, except for the first 95% submission, when the ECC decreased from
$5,744,127.00 to $5,416,582.00, the second 95% submission, when the ECC decreased
further to $5,187,513.00, and the first and second 100% submission, when the ECC
remained at $5,187,513.00. Whether plaintiff’s method of submissions met the notification
requirements by which the contractor was required to notify the government of changes




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to the contract in writing, pursuant to FAR 52.236-22 and FAR 52.243-7, and included in
the contract, is not clear.

          Moreover, interpretation of the requirements of the contract regarding the
placement of the electrical utilities underground and the consequential encasing
requirements are also not clear and the parties are not in agreement. Plaintiff argues that
the contract into which the parties entered did not require underground electrical utilities,
and that defendant’s requirement to include underground utilities constituted a change to
the contract. Count Two of plaintiff’s third amended complaint alleges that “[t]he
Government made various changes to the Plaintiff’s scope of work under the Contract”
which increased the project’s ECC and for which “Plaintiff is entitled to a change order to
increase the ECC to account for the Government-directed changes to the design
requirements, but the Government failed to issue such a change.” Therefore, plaintiff
asserts it “was entitled to an increase in its six percent design fee to account for the
increase in the estimated cost of construction, but the Government issued no such
change.” Plaintiff claims entitlement to the additional payment based on DFARS 236.606-
70, “Statutory fee limitation,” to which this contract was subject in accordance with 10
U.S.C. § 4540 (2012). The statute at 10 U.S.C § 4540 provided in relevant part: “[t]he fee
for any service under this section may not be more than 6 percent of the estimated cost,
as determined by the Secretary, of the project to which it applies.” 10 U.S.C. § 4540
(2012) (emphasis added).19 Defendant argues that plaintiff’s claim fails because it
converts “the design fee limit in DFARS 236.606-70” into “a floor,” while according to the
law, “the design fee can only increase in specific situations, and does not automatically
increase based on the contractor’s estimate cost of construction, as BESDB contends.”
(emphasis in original). Defendant argues that because the contract specifies a firm fixed
price for the contract,20 and “the contract does not contemplate an automatic increase in
the fee,” the plaintiff has no grounds to seek an automatic increase of its fee based on its
own calculated ECC included in the plaintiff’s final 100% design submission. Plaintiff
argues, however, that DFARS 236.606-70, by its own language, applies “[t]he six percent
limit . . . to contract modifications” with its instruction to “[a]pply the six percent limit to the


19As discussed above, 10 U.S.C. § 4540 has, since the time of the contract performance
in this case, been recodified at 10 U.S.C. § 7540 (2018). See Pub. L. No. 115-232,
§ 808(c)(2), 132 Stat. 1636, 1839 (2018).
20 As noted above, the modification set firm fixed prices for each stage of performance as
follows:

       1. Field Investigation (Non-Design)           $113,881.66
       2. Design – 35%                               $61,285.31
       3. Design – 65%                               $77,717.05
       4. Design – 95%                               $65,181.55
       5. Design – 100%                              $35,760.65
       6. RFI & Bidding                              $16,358.18
       6. [sic] Construction Services                $-
       Totals                                        $370,184.41


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revised total estimated construction cost” in the case of “[w]ork not initially included in the
contract.” DFARS 236.606-70(b)(1). Plaintiff argues that the Army ordered plaintiff to
complete work not initially included in the contract, and thereby entitled plaintiff to recover
on a theory of constructive change to the contract, in an amount which plaintiff sets at
approximately six percent of the ECC included in its final 100% design submission.

       As presented to the court in the cross-motions for partial summary judgment,
multiple issues of contract interpretation and fact remain at issue, including a key question
of whether the contract required utilities to be placed underground and installed in duct
banks, as well as the application of the relevant regulations, such as DFARS 236.606-70.
As discussed above, contract interpretation “begins with the language of the written
agreement.” Premier Office Complex of Parma, LLC v. United States, 916 F.3d at 1011.
The contract incorporated, in full, the text of FAR 52.236-22, “Design Within Funding
Limitations (Apr 1984),” which provides in relevant part:

       (a) The Contractor shall accomplish the design services required under this
       contract so as to permit the award of a contract, using standard Federal
       Acquisition Regulation procedures for the construction of the facilities
       designed at a price that does not exceed the estimated construction
       contract price as set forth in paragraph (c) below. When bids or proposals
       for the construction contract are received that exceed the estimated price,
       the contractor shall perform such redesign and other services as are
       necessary to permit contract award within the funding limitation. These
       additional services shall be performed at no increase in the price of this
       contract. However, the Contractor shall not be required to perform such
       additional services at no cost to the Government if the unfavorable bids or
       proposals are the result of conditions beyond its reasonable control.

       (b) The Contractor will promptly advise the Contracting Officer if it finds that
       the project being designed will exceed or is likely to exceed the funding
       limitations and it is unable to design a usable facility within these limitations.
       Upon receipt of such information, the Contracting Officer will review the
       Contractor’s revised estimate of construction cost. The Government may, if
       it determines that the estimated cost of construction contract price set forth
       in this contract is so low that award of a construction contract not in excess
       of such estimate is improbable, authorize a change in scope or materials
       required to reduce the estimated construction cost to an amount within the
       estimated construction contract price set forth in paragraph (c) below, or the
       Government may adjust such estimated construction contract price.

FAR 52.236-22(a)-(b). (capitalization in original).

      DFARS 236.606-70, “Statutory fee limitation,” which the parties agree applies to
the contract, provides in relevant part:




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       (a) 10 U.S.C. 4540, 7212, and 9540 limit the contract price (or fee) for
       architect-engineer services for the preparation of designs, plans, drawings,
       and specifications to six percent of the project’s estimated construction cost.
       (b) The six percent limit also applies to contract modifications, including
       modifications involving-
              (1) work not initially included in the contract. Apply the six percent
              limit to the revised total estimated construction cost.
       (2) Redesign. Apply the six percent limit as follows-
                     (i) Add the estimated construction cost of the redesign
                     features to the original estimated construction cost;
                     (ii) Add the contract cost for the original design to the contract
                     cost for redesign; and
                     (iii) Divide the total contract design cost by the total estimated
                     construction cost. The resulting percentage may not exceed
                     the six percent statutory limitation.
       (c) The six percent limit applies only to that portion of the contract (or
       modification) price attributable to the preparation of designs, plans,
       drawings, and specifications. If a contract or modification also includes other
       services, the part of the price attributable to the other services is not subject
       to the six percent limit.
DFARS 236.606-70. (emphasis in original).

        Although the court agrees with defendant that the regulation at DFARS 236.606-
70 sets an upper limit on the design fee in an architect-engineer contract and fixes that
limit to a percentage of the estimated construction cost, the court notes that DFARS
236.606-70 also allows for the possibility of revising the estimated construction cost as a
result of contract modifications. See DFARS 236.606-70(a)-(b). Therefore, the language
of DFARS 236.606-70 contemplates a possible adjustment of the design fee based on
changes to the ECC after contract performance in the above captioned case has begun.

        The contract in the case before the court also incorporated FAR 52.236-22,
“Design Within Funding Limitations (Apr 1984),” which requires the contractor to “promptly
advise the Contracting Officer if it finds that the project being designed will exceed or is
likely to exceed the funding limitations and it is unable to design a usable facility within
these limitations.” FAR 52.236-22(b). After notification, the government will determine if
an adjustment of the cost estimate is appropriate, and the clause gives the government
the discretion to raise or not raise the estimated cost of construction. See id. The language
of DFARS 236.606-70 and FAR 52.236-22, when read together, demonstrate that, while
the statutory design fee limitation can be adjusted upward to account for increases to the
ECC, such increases to the ECC are effected by the government in response to the
contractor “promptly advis[ing] the Contracting Officer” of the necessity of such an
increase and the government deciding the adjustment is appropriate. See id.


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        On October 27, 2017, plaintiff inquired regarding the progress of the Army’s
approval of plaintiff’s final design, to which the Army replied, “[t]he progress on the final
design is that it has not been approved because it was over budget . . . .” Although an
email from Fort Drum’s Acting Chief of Engineering Mr. Stone, and Mr. Stone’s deposition
testimony, expressed a belief that someone at the Army verbally accepted plaintiff’s 100%
final design, which could have included verbal acknowledgment of plaintiff’s proposed,
increased ECC, Mr. Stone could not identify the individual and the record before the court
does not disclose such approval. The record before the court does not fully resolve
whether a government official with proper authority verbally, in writing, or by action,
approved the increased ECC as proposed by the plaintiff in successive percentage
submissions, in part because the plaintiff was paid for all but the 100% submissions.
Plaintiff, however, argues that plaintiff’s objections to defendant stating electrical utilities
must be relocated underground occurred immediately at the Design Charrette meeting
with the contracting officer present and then in writing in the various percentage
submissions to the government amounted to prompt notice.

        The cross-motions for partial summary judgment as presented to the court also do
not resolve whether the contract between the Army and the plaintiff required the plaintiff
to relocate all electrical utilities underground and whether the government’s order to do
so constituted a change to the contract. Moreover, even if a change occurred, the issue
remains whether plaintiff followed the required written submissions to properly effect
entitlement to increased fees for that change. It is important to note that as presented to
the court in the cross-motions, the parties dispute the meaning of the contract’s
specifications in the agreement between the parties and the intent of the parties regarding
the placement of electrical utilities. Defendant argues that the contract required at least
“some” electrical utilities to be placed underground, not that all the utilities needed to be
placed underground. (emphasis added). The defendant, however, does not specify if the
“some” refers to specific utilities or a percentage of all utilities. This is in sharp contrast to
plaintiff’s argument that “the language of the Task Order plainly and unambiguously does
not require underground electrical utilities.” (emphasis in original).

       The contract makes clear, in two incorporated clauses, FAR 52.216-18, “Ordering
(Oct 1985),” and DFARS 252.216-7006, “Ordering (May 2011),” that while all “services to
be furnished under this contract shall be ordered by issuance of delivery orders or task
orders,” any task order will be “subject to the terms and conditions of this contract,” with
any conflict between the task order and contract being resolved in favor of the contract’s
terms. See DFARS 252.216-7006(a)-(b); FAR 52.216-18(a)-(b). Accordingly, the terms
and conditions of the contract were incorporated into the task order.

      Section “C.8.8.2 Interim Design Drawings,” of the SOW provided that the interim
design drawings would include, in relevant part:

       ii. Removal and/or Relocation plans: Indicate all items of work that require
       removal or relocation. Provide dimensions for removal items such as




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       pavement, curbs, sidewalks, utilities, buildings, walls, partitions, or other
       site features proposed for removal or relocation.
                                           ...

       v. Utility Plan: The utility plan will identify and locate water lines, sanitary
       sewers, natural gas, electrical, communications, and other subsurface utility
       features.
                                               ...

       vii. Utility Profiles: Provide profiles for all storm drainage systems, sewer
       lines, water lines, and telecommunications duct banks. Indicate invert
       elevations, ground profiles and new and existing structures and utility
       crossings.

(emphasis added). Section C.8.8.2 of the SOW referred to “electrical” as one category of
utilities in a list ending in “and other subsurface utility features.” (emphasis added). A later
section of the SOW, “C.13.6 Final Design,” further provided:

       b. Drawings: Final drawings will show all pertinent plans, elevations,
       sections, details, schedules, and notes to present a complete description of
       the construction requirements. All elements will be properly annotated and
       located with proper dimensions.

              (1) Exterior Electrical Drawings will include:

                      (i) Details which clearly depict the installation requirements of
                      overhead and underground supply and utilization equipment[.]

(capitalization in original). Although not by itself dispositive, as indicated above regarding
Interim Design Drawings, the requirement that Exterior Electrical Drawings include
“details which clearly depict the installation requirements of overhead and underground
supply and utilization equipment” should have served to alert plaintiff that it would need
to account for placement of any overhead electrical utility equipment.

       In addition, the December 18, 2015 RTOP and February 11, 2016 modification
both provided instruction as to how plaintiff should perform the task order. The RTOP and
modification both required performance of the task order “in accordance with the attached
Performance Work Statement,” i.e. the PWS, and, therefore, the PWS applied to the task
order. The PWS provided, in section “2.2.8.3 Electrical,” that “[a]ny existing electrical
primary and secondary services, transformers (that need to be removed, or abandoned
or required to be upgraded), electrical poles, light fixtures and any others that need to be
removed or abandoned or relocated need to be identified.” Importantly, as noted above,
Appendix C to the PWS, contained a reference to “Ft Drum Utility Standards.” Notably,
among other records not provided to the court, this Appendix C was not included in the
record before the court. Therefore, the court could not be confident when determining the
requirements of the PWS with respect to the placement of electrical utilities.



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        The IDG, which, as outlined above, is referenced in the PWS, also provides detail
with regard to relocation of electrical utilities, although plaintiff disputes the IDG’s
incorporation into the terms of the contract. Two provisions, however, demonstrate that
the IDG was intended to be incorporated into the contract. The first, from the SOW section
“C.10 Architectural,” provided that “[a]rchitectural themes will be in accordance with Fort
Drum’s Installation Design Guide (IDG), latest edition.” (emphasis added). The second,
from a section of the PWS titled “2.2.3 Site/Civil Design,” provided that “[t]he contractor
shall provide and develop site design and landscaping for 400 project area, which comply
with the Ft drum installation design guidelines requirements . . . .” (emphasis added). As
discussed above, “[t]he Installation Design Guide” and the references to the “Ft drum
installation design guidelines requirements” appear to refer to the same thing. Further,
while the IDG is referenced in the context of “architectural themes” in the SOW, the
reference in the PWS to “site design and landscaping,” under the heading “Site/Civil
Design,” indicates that the IDG applies to the agreement between the parties. Considered
together, the language of SOW section “C.10 Architectural” and the language of the
PWS’s “2.2.3 Site/Civil Design” section express the intent that the requirements of the
IDG would be binding upon the parties. It, therefore, appears from the language of the
contract documents, including the PWS, that the IDG’s requirements were incorporated
into the task order.

         In the section “Purpose of the IDG” the IDG provides that “[t]he IDG includes
standards and general guidelines for the design issues of site planning; architectural
character, colors and materials; vehicular and pedestrian circulation; and landscape
elements. This includes plant material, seating, signage, lighting, and utilities.” (emphasis
added). The IDG further provides in the “Audience” section that “[t]he IDG is to be used
by all individuals involved in decision-making, design, construction, and maintenance of
facilities,” including “U.S. Army Corps of Engineers Project Managers, as well as Design
and Construction staff.” (emphasis added). The IDG section “Using the Design Guide”
provides that “[t]he IDG applies to all projects, regardless of funding source.” (emphasis
added). The IDG’s “Implementation” section of the IDG provides that the IDG’s use should
be required in “Request for Proposals on new projects, Scopes of Work for new projects,
and maintenance agreements,” and required an IDG Checklist21 “to be completed by the
design team to ensure that guidelines and standards have been considered in the design
process.” (emphasis added).

         Provisions of the IDG regarding the placement of utilities are somewhat
inconsistent and not totally clear. In general, the IDG, however, expresses a high degree
of intention to have utilities placed underground. The IDG states “whenever possible place
utilities underground.” The IDG also names “[u]tilities are underground and are not
visually obtrusive” as an asset, while “[o]verhead utilities are prominently visible” is listed
as a liability. Further, the list of “Site Element Objectives” includes “[m]inimize negative
visual impacts of all utility systems.” Moreover, the “Utilities” section of the IDG provides:


21The IDG Checklist, required to be completed for all designs, asked: “Will all power and
other distribution lines be located underground?”


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“The visual and environmental impact of utilities should be minimized on the Installation.
. . . Utilities shall be bored under roads unless otherwise directed.” The parties both refer
to a section of the IDG, “Utilities,” which provides:

       Unsightly overhead utilities should be relocated underground wherever
       possible to reduce negative visual impacts, as well as to reduce
       maintenance and repair requirements. Underground utilities are also
       desirable for protection from terrorist or other enemy attack.

                                               ...

       Power distribution lines should also be located underground to minimize
       negative visual impact, reduce maintenance, and protect from terrorist or
       other enemy attack. If overhead, they should be located out of view from
       main public visibility areas or screened to be as unobtrusive as possible.

          Plaintiff argues that the IDG “is replete with language that is permissive – not
mandatory – and does not impose any affirmative contractual obligation on BES.” Plaintiff
relies on the language “[u]nsightly overhead utilities should be relocated underground.
. . . [a]nd [u]nderground utilities are also desirable . . . .” Although plaintiff is correct that
the word “desirable,” when considered alone, sounds permissive, plaintiff does not place
the quoted language in the context of the “Utilities” section of the IDG, or address the IDG
as a whole. In addition plaintiff does not address defendant’s stated position that some of
the utilities, although not necessarily all, should be placed underground. The language of
the IDG, while perhaps inconsistent, does evince a strong desire on behalf of the
government that electrical utilities be located underground whenever possible and that
those utilities that cannot be underground should be hidden from view. On the other hand,
the sentence in the IDG which states “[u]tilities shall be bored under roads unless
otherwise directed” functions as a direction to the contractor to build the utilities
underground, certainly under roads, unless otherwise directed by the government. This
IDG language “shall be bored under roads” from the “Utilities” section of the IDG, with its
provision for exceptions only as ordered, as well as the “should be relocated underground
wherever possible” language, are consistent with defendant’s statement that “from the
start of performance, the contract required BESDB to place some electrical underground
and to encase some parts in concrete.” Further, to ignore the direction in the IDG that
“[u]tilities shall be bored under roads unless otherwise directed,” would “leave[] a portion
of the contract useless, inexplicable, void, or superfluous.” NVT Tech., Inc. v. United
States, 370 F.3d at 1159. The phrase “shall be bored under roads” alone creates a
requirement for plaintiff to place, at least, some electrical utilities underground, contrary
to plaintiff’s interpretation of the IDG as entirely permissive, not requiring that any utilities
be placed underground and in ducts. Based on the record currently before the court,
however, at this time, the court cannot come to a final determination about the
requirements for requiring placement of electrical utilities underground throughout the
project. As indicated above, the “Ft Drum Utility Standards,” and the rest of Appendix C
of the PWS, are missing from the record, which prevents the court from reaching a final
resolution. In part, this is a result of the minimalist approach to briefing at times adopted



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by the parties and the choices the parties made in providing appendices to their respective
motions for partial summary judgment, which leaves the court without a complete picture
of all the apparently relevant contract documents.

        Even assuming for the sake of argument that the agreement between the parties
did not require any underground placement of electric utilities, that would not end the
court’s analysis of the cross-motions for partial summary judgment. Plaintiff would also
need to demonstrate the elements of a constructive change, including that an authorized
government official ordered the change. “To demonstrate a constructive change, a
plaintiff must show (1) that it performed work beyond the contract requirements, and (2)
that the additional work was ordered, expressly or impliedly, by the government.”
Bell/Heery v. United States, 739 F.3d at 1335 (citing The Redland Co. v. United States,
97 Fed. Cl. 736, 755-56 (2011)). “If the government expressly or implicitly ordered work
that was outside the scope of the contract, or if the government was at fault in causing
work to be done outside the scope of the contract, a constructive change has occurred
and plaintiff is entitled to an equitable adjustment of price.” LB&B Assocs. Inc. v. United
States, 91 Fed. Cl. 142, 153 (2010) (citing Lathan Co. v. United States, 20 Cl. Ct. 122,
128 (1990)). “Thus, if the Government either expressly or impliedly ordered work outside
the scope of the contract, or if the Government otherwise caused the contractor to incur
additional work, a constructive change arises for that work performed outside of the scope
of the contract.” Miller Elevator Co. v. United States, 30 Fed. Cl. at 678 (citation omitted).
As the United States Court of Claims has stated:

       [W]e, . . . have held that, if a contracting officer compels the contractor to
       perform work not required under the terms of the contract, his order to
       perform, albeit oral, constitutes an authorized but unilateral change in the
       work called for by the contract and entitles the contractor to an equitable
       adjustment in accordance with the ‘Changes’ provision.

Len Co. & Assocs. v. United States, 181 Ct. Cl. 29, 38, 385 F.2d 438, 443 (1967) (footnote
omitted); see also Chris Berg, Inc. v. United States, 197 Ct. Cl. 503, 525, 455 F.2d 1037,
1050 (1972) (finding that if the contractor was either actually or constructively ordered to
paint certain surfaces beyond contract requirements, an equitable adjustment would be
merited). Moreover, “[t]o prevail on a constructive change claim and secure an equitable
adjustment, a contractor must show that an official with authority to bind the government
demanded ‘work above and beyond that in the contract.’” Ultimate Concrete, LLC v.
United States, 141 Fed. Cl. 463, 475 (2019) (quoting Agility Def. & Gov’t Servs. Inc. v.
United States, 115 Fed. Cl. 247, 251 (2014)); see also Weston/Bean Joint Venture v.
United States, 123 Fed. Cl. 341, 370 (2015), aff’d, 652 F. App’x 972 (Fed. Cir. 2016).

       For damages for Count Two, plaintiff seeks six percent of the difference between
the ECC stated in the contract, $4,500,000.00, and plaintiff’s proposed, increased ECC
included with plaintiff’s 100% backcheck submission, $11,763,928.00,22 in the amount of

22This is the ECC in the final 100% backcheck submission from plaintiff, submitted on
September 29, 2017 in response to comments by the government on earlier 100% design
submissions and 100% backcheck submissions.


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$435,835.68. Starting with the submission of the 35% design on April 11, 2016, in which
plaintiff included an “Underground Utilities Alternate” in its submission, and thereafter in
the 65% submission on May 16, 2016, the 95% submission on July 6, 2016, the second
95% submission on September 8, 2016, the first 100% submission on October 19, 2016,
the two additional 100% resubmissions on October 31, 2016, and December 12, 2016,
as well as the 100% backcheck submission on January 23, 2017, and 100% backcheck
resubmissions on July 21, 2017, September 19, 2017, and September 29, 2017, the
plaintiff states it incorporated the underground electrical utilities requirement into its
design submittals. Plaintiff did continue to perform on the contract as required by the
Changes clause. See FAR 52.243-1(e). The Army paid plaintiff for each submission,23
except for the 100% design submission, but claims it never approved the ECC increases
proposed by the plaintiff.

       As noted above, in order to establish entitlement on a theory of constructive
change, plaintiff must show “that the additional work was ordered, expressly or impliedly,
by the government.” Bell/Heery v. United States, 739 F.3d at 1335. Moreover, “an official
with authority to bind the government” must have issued the order. See Ultimate
Concrete, LLC v. United States, 141 Fed. Cl. at 475. The contract between plaintiff and
the government provides that

       [o]nly a Warranted Contracting Officer, acting within their delegated limits,
       has the authority to make modifications or otherwise change the terms and
       conditions of this contract. If an individual other than the Contracting Officer
       attempts to make changes to the terms and conditions of this contract [the
       contractor] shall not proceed with the change and shall immediately notify
       the Contracting Officer.

The contract also provided and emphasized:

       IMPORTANT NOTICE: The Contractor will not accept any instructions
       issued by any person other than the Contracting Officer or his/her
       authorized representative acting within the limits of his/her authority. No
       information other than that which may be contained in any authorized
       amendment to this contract or any authorized modification to the contract
       issued by the Contracting Officer, which may be received from any person
       employed by the U.S. Government or otherwise, shall be considered as
       grounds for deviation from any provisions, conditions or other terms of this
       contract.
                                           ...




23 While the Army at first made only a partial payment for the 95% design submission, the
Army eventually paid the balance due on the 95% design submission following issuance
of the Contracting Officer’s Final Decision.


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       C.15.5 Government Contracting Officers Representatives Their Authority:
       The Contracting Officer may identify the individuals to act as the Contracting
       Officer’s Representative (COR) and the Alternate Contracting Officer’s
       Representative (ACOR). This designation will be made in writing with a copy
       furnished to the contractor. The COR staff will represent the Contracting
       Officer in the administration of the contract, but will not be authorized to
       change any of the terms and conditions of the contract.

              No oral statements of any person, whomsoever, will, in any manner
              or degree, modify or otherwise affect the terms and conditions of this
              contract. The Contracting Officer shall be the ONLY person
              authorized to approve changes in any provisions contained
              elsewhere in this contract, and said authority shall remain solely with
              the Contracting Officer.

(italics and capitalization in original). These provisions of the contract demonstrate that
only a contracting officer can change the terms and conditions of the contract.

        Plaintiff argues that the government for the first time directed BES to redesign
existing electrical utilities underground at the Design Charrette meeting. According to
plaintiff, at the Design Charrette meeting and in its various percentage design
submissions, most of which were paid fully by the government, the government acted in
ways that were the equivalent of approving the increased ECC numbers. The record
currently before the court, however, is not clear whether these actions by the government
equate to approval or ratification by the government of a change to the contract, which
would lead to a compensable change.

        In attendance at the Design Charrette meeting were several representatives of
plaintiff and defendant. On behalf of defendant, Mr. Stone, Acting Chief of Engineering at
Fort Drum, as well as the Contracting Officer at the time, Ms. McAleese, were present.
Ms. McAleese as the Contracting Officer had authority to bind the government and to
authorize a change to the contract. Plaintiff argues that because Ms. McAleese was
present at the Design Charrette meeting, and because she did not object to plaintiff’s
identification of placing the utilities underground as a change to the contract, she implicitly
approved the underground utility requirement as a change. Whether or not that occurred
is not definitely resolved in the record currently before the court, or satisfactorily
addressed by the parties’ cross-motions. Similarly, although the deposition testimony of
Mr. Stone suggested that one 100% final design was accepted by someone on behalf of
the government, Mr. Stone could not identify the individual who did so and that issue
remains unresolved as to its accuracy.

         Further, defendant argues that even if the Army’s requirement that electrical
utilities be placed underground might have been in the nature of a constructive change,
plaintiff’s claim could still fail if plaintiff did not meet the contract requirements to provide
prompt, written, and specific notice to the Army of any alleged changes. Whether the ECC
changes met those requirements and what happened when each percentage submission



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was received remains unresolved. In addition, it appears from the record currently before
the court that plaintiff may have been encouraged to submit an REA, which although
ultimately rejected, creates an open issue of fact as to whether the communications on
that subject acknowledged a proper change.

       Plaintiff also urges that this court should not require “strict compliance” with the
terms of the contract, which requires written, specific notice to the government of alleged
changes. Plaintiff argues that “[w]here responsible Government officials are aware or
should be aware of the facts giving rise to a claim, strict compliance with a contract’s
written notice requirements is not required. . . . In fact, oral notice to responsible
Government representatives is sufficient.” (internal citations omitted).

        The contract, as discussed above, incorporated FAR 52.236-22, Design Within
Funding Limitations (Apr 1984),” which provides that “[t]he Contractor will promptly advise
the Contracting Officer if it finds that the project being designed will exceed or is likely to
exceed the funding limitations and it is unable to design a usable facility within these
limitations.” FAR 52.236-22(b). The contract additionally incorporated by reference FAR
52.243-7, “Notification of Changes (1984),” which provides in relevant part:

       (b) Notice. The primary purpose of this clause is to obtain prompt reporting
       of Government conduct that the Contractor considers to constitute a change
       to this contract. Except for changes identified as such in writing and signed
       by the Contracting Officer, the Contractor shall notify the Administrative
       Contracting Officer in writing promptly, within __ (to be negotiated) calendar
       days from the date that the Contractor identifies any Government conduct
       (including actions, inactions, and written or oral communications) that the
       Contractor regards as a change to the contract terms and conditions. On
       the basis of the most accurate information available to the Contractor, the
       notice shall state –

              (1) The date, nature, and circumstances of the conduct regarded as
              a change;

              (2) The name, function, and activity of each Government individual
              and Contractor official or employee involved in or knowledgeable
              about such conduct;

              (3) The identification of any documents and the substance of any oral
              communication involved in such conduct;

              (4) In the instance of alleged acceleration of scheduled performance
              or delivery, the basis upon which it arose;

              (5) The particular elements of contract performance for which the
              Contractor may seek an equitable adjustment under this clause,
              including –



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              (i) What contract line items have been or may be affected by
              the alleged change;

              (ii) What labor or materials or both have been or may be
              added, deleted, or wasted by the alleged change;

              (iii) To the extent practicable, what delay and disruption in the
              manner and sequence of performance and effect on
              continued performance have been or may be caused by the
              alleged change;

              (iv) What adjustments to contract price, delivery schedule,
              and other provisions affected by the alleged change are
              estimated; and

       (6) The Contractor’s estimate of the time by which the Government
       must respond to the Contractor’s notice to minimize cost, delay or
       disruption of performance.

(c) Continued performance. Following submission of the notice required by
(b) above, the Contractor shall diligently continue performance of this
contract to the maximum extent possible in accordance with its terms and
conditions as construed by the Contractor, unless the notice reports a
direction of the Contracting Officer or a communication from a SAR
[Specifically Authorized Representative] of the Contracting Officer, in either
of which events the Contractor shall continue performance; provided,
however, that if the Contractor regards the direction or communication as a
change described in (b) above, notice shall be given in the manner
provided. All directions, communications, interpretations, orders and similar
actions of the SAR shall be reduced to writing promptly and copies furnished
to the Contractor and to the Contracting Officer. The Contracting Officer
shall promptly countermand any action which exceeds the authority of the
SAR.

(d) Government response. The Contracting Officer shall promptly, within __
(to be negotiated) calendar days after receipt of notice, respond to the
notice in writing. In responding, the Contracting Officer shall either –

       (1) Confirm that the conduct of which the Contractor gave notice
       constitutes a change and when necessary direct the mode of further
       performance;

       (2) Countermand any communication regarded as a change;




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             (3) Deny that the conduct of which the Contractor gave notice
             constitutes a change and when necessary direct the mode of further
             performance; or

             (4) In the event the Contractor’s notice information is inadequate to
             make a decision under (1), (2), or (3) above, advise the Contractor
             what additional information is required, and establish the date by
             which it should be furnished and the date thereafter by which the
             Government will respond.

      (e) Equitable adjustments. (1) If the Contracting Officer confirms that
      Government conduct effected a change as alleged by the Contractor, and
      the conduct causes an increase or decrease in the Contractor’s cost of, or
      the time required for, performance of any part of the work under this
      contract, whether changed or not changed by such conduct, an equitable
      adjustment shall be made –

                    (i) In the contract price or delivery schedule or both; and

                    (ii) In such other provisions of the contract as may be affected.

             (2) The contract shall be modified in writing accordingly. In the case
             of drawings, designs or specifications which are defective and for
             which the Government is responsible, the equitable adjustment shall
             include the cost and time extension for delay reasonably incurred by
             the Contractor in attempting to comply with the defective drawings,
             designs or specifications before the Contractor identified, or
             reasonably should have identified, such defect. When the cost of
             property made obsolete or excess as a result of a change confirmed
             by the Contracting Officer under this clause is included in the
             equitable adjustment, the Contracting Officer shall have the right to
             prescribe the manner of disposition of the property. The equitable
             adjustment shall not include increased costs or time extensions for
             delay resulting from the Contractor’s failure to provide notice or to
             continue performance as provided, respectively, in (b) and (c) above.

FAR 52.243-7 (emphasis added; italics and capitalization in original).

The contract contains two FAR clauses requiring written notice to the Contracting Officer
of the specifics of an alleged change as articulated in the applicable regulations with FAR
52.236-22 and FAR 52.243-7. At issue, therefore, is whether the notice at the Design
Charrette meeting or the inclusion in the 35%, 65%, 95%, and multiple 100% submissions
of a revised ECC can qualify as “prompt written notice” to the government of a change to
the contract.




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       The Court of Appeals for the Federal Circuit has indicated, “[s]ometimes,
extenuating circumstances have weighed against strict enforcement” of notice provision
requirements such as limits on the amount of time within which a contractor must bring a
change to the attention of the government. See K-Con Bldg. Sys., Inc. v United States,
778 F.3d 1000, 1010 (Fed. Cir. 2015). In K-Con Building Systems, Inc. v. United States,
the Federal Circuit referenced Hoel-Steffen Construction Co. v. United States, a case in
the United States Court of Claims, a predecessor court to the Federal Circuit, in support
of excusing failure to strictly comply with notice requirements, explaining

       “a severe and narrow application of the notice requirements [of the
       suspension clause in the then-extant Federal Procurement Regulations]
       . . . would be out of tune with the language and purpose of the notice
       provisions, as well as with this court’s wholesome concern that notice
       provisions in contract-adjustment clauses not be applied too technically and
       illiberally where the Government is quite aware of the operative facts . . . .”

K-Con Bldg. Sys., Inc. v. United States, 778 F.3d at 1010 (quoting Hoel-Steffen Constr.
Co. v. United States, 197 Ct. Cl. 561, 573 (1972)) (alterations in original); see also Lake
Charles XXV, LLC v. United States, 118 Fed. Cl. 717, 721 (2014). As for K-Con Building
Systems, Inc., the clause at issue required the contractor to give notice to the contracting
officer of any order that the contractor considered a change, with the notice consisting of
“(1) [t]he date, circumstances, and source of the order” and “(2) [t]hat the Contractor
regards the order as a change order,” with such notice required to be given within 20 days
of the alleged change. See FAR 52.243-4(b), (d). In K-Con Building Systems, Inc., the
Federal Circuit determined that the contractor could not be excused for failing to comply
with the time-limit provision of FAR 52.243-4(d) because the contractor “proffered no
evidence suggesting the Coast Guard knew or should have known that K-Con considered
the work requests to be contract changes,” until a letter was sent a year after the alleged
changes had occurred, which “lack[ed] any detail with regard to what [the contractor]
considered to be the changes made . . . .” K-Con Bldg. Sys., Inc. v United States, 778
F.3d at 1010.

       In the case currently before the court, plaintiff argues that it had made the Army
aware of a change regarding the requirement to place utilities underground as early as
the Design Charrette meeting and then in writing in the submissions of the 35% design,
which stated in writing that the “Underground Utilities Alternate,” plaintiff’s apparent
chosen name for the underground electrical utilities requirement in the 35% design, would
raise the ECC, the cost of construction, to $4,878,214.00. Each subsequent percentage
submission stated an ECC greater than the Army’s ECC and that a large portion of each
design’s ECC would be attributable to the “electrical division”24 of the construction cost.
With the 65% submission, the proposed total ECC was $5,744,127.00, with an electrical
division cost of $2,809,553.00. For the 95% submission, the included, proposed ECC was
$5,187,513.00, with an electrical division of $1,902,679.00. The 100% submission


24The phrase “electrical division” is not explained in plaintiff’s cost spreadsheets included
with each percentage submission.


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included a proposed ECC was $11,821,977.00, with an electrical division of
$5,375,794.00. In January 2017, the proposed ECC of plaintiff’s 100% design submission
was $5,187,513.00. This amount is consistent with plaintiff’s ECC at the 35% submission
in April 2016, the submission most immediately following the Design Charrette meeting,
at which according to plaintiff that the Army first stated its requirement for the installation
of underground electrical utilities. Beginning July 21, 2017, with the fourth version of the
100% design, plaintiff’s proposed ECC, however, increased substantially, to over
$11,000,000.00, at which level plaintiff’s proposed ECC remained when the contract was
terminated on June 26, 2019.

       Therefore, plaintiff relies on the various percentage submissions as meeting notice
requirements with inclusion of the proposed increased ECCs serving to make the
government “aware of the operative facts.” Defendant argues, however, that plaintiff has
not conformed with the notice requirements in the contract, including the notice provisions
in FAR 52.236-22 and FAR 52.243-7. With the exception of the final 100% submission,
however, defendant did pay plaintiff for the work done in response to each submission.
In general, the communications between the parties on this and other issues during
contract performance remain unclear based on the parties’ submissions to the court to
date. Moreover, in its submissions to the court, defendant does not address this allegation
by plaintiff in a meaningful way and thus the issue remains unresolved.

        Finally, defendant argues that plaintiff cannot recover even if plaintiff were to be
ultimately successful regarding the existence of a change, because plaintiff has failed to
provide sufficient cost data to support its submitted REA and for its certified claim.
Plaintiff’s REA provided that “[t]his equitable adjustment is requested due to the additional
professional liability risk in the amount of $7.3M and the extensive additional design
requirements and betterment that FT Drum received on this project.” Plaintiff included a
chart in the REA with an estimated cost of construction broken down into divisions such
as “General Requirements,” “Plumbing,” and “Electrical,” for five selected percentage
submissions: 35% (April 11, 2017) [sic], 65% (June 20, 2016), 95% (July 6, 2016), 100%
(December 31, 2016), and 100% backcheck (September 29, 2017). Plaintiff argues in
response that “BES provided its costs data to the Government on numerous occasions in
support of its request for compensation. In both the REA and the Certified Claim, BES
submitted actual cost data Government [sic].” Plaintiff also claims to have provided “a
spreadsheet documenting the increased costs incurred as a result of the increased design
work” in response to a request for supplemental information from the Contracting Officer,
as well as “timesheets verifying actual hours worked as well as invoices.” Plaintiff’s
appendix submitted to this court includes a spreadsheet of “Direct Costs,” dated
December 5, 2017, with rates for various project positions such as “Principal-in-charge,”
“Project Manager,” and “Sr. Project Architech [sic],” as well as a “Direct Total” of
$102,151.30, although it is unclear whether this spreadsheet only documents costs
attributable to the alleged change. Plaintiff’s appendix also includes a spreadsheet
labeled “BESBD 400 Arears Timesheets,” also dated December 5, 2017, and numerous
invoices dated between April 7, 2016 and January 10, 2017, although it is also unclear
whether these timesheets and invoices account solely for work attributable to the alleged
change. These documents appear in the record as attachments to an email dated



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December 5, 2017 from plaintiff’s Managing Partner, Mr. Banach, to Marisa Mustizer,
Division Chief of Installation Support at Fort Drum. The information provided by plaintiff
in support of its REA and its certified claim did not identify the costs attributable to the
Army’s alleged change to the contract requirements. The PWS indicates that plaintiff was
required to place at least some of the electrical utilities underground, although it remains
unclear which utilities were required to be placed underground. Furthermore, the issue of
the sufficiency of the cost data was not joined to a detailed enough way in the parties’
submissions.

         The parties have very disparate views of the contract requirements and what
happened during contract performance. After painstaking analysis of the parties’ multiple
filings with the court, including the selected appendices they filed, although the court
notes that the plaintiff may have a difficult path forward to prevail on Count Two of the
third amended complaint, there remain unresolved issues of material fact. For facilitation
of further proceedings in this case, the court has carefully laid out the relevant parts of
the contractual documents and applicable established facts, as well as discussed material
facts which remain in dispute. Thus far, plaintiff has argued that “the language of the Task
Order plainly and unambiguously does not require underground electrical utilities.”
(emphasis in original). According to plaintiff, therefore, none of the utilities were required
to be placed underground or encased in concrete. Throughout the debate in the case the
plaintiff has insisted that under the terms of the agreement between the parties,
placement of all the utilities underground was not within the terms of that agreement.
Defendant, however, consistent with the IDG, asserts that “from the start of performance,
the contract documents required BESDB to place some electrical underground and to
encase some parts in concrete.” The defendant does not appear to argue that all electrical
utilities needed to be underground and encased. At this time, defendant has not indicated
if the contract documents further defined which of the electrical utilities need to be placed
underground, what percentage, or how the contract documents referenced how to
determine the various placements. As such, there are unresolved questions of fact
regarding the placement of the utilities. Additionally, plaintiff makes allegations of fact
regarding the role the contracting officers in the case played during contract performance.
The court also notes that there are references in the record to appendices which appear
to have relevance to the issue of electrical utility placement that were not submitted to the
court, such as Appendix C to the PWS, which states it includes “Ft Drum Utility
Standards.” This raises concerns for the court as to whether relevant information is
contained in these documents which could resolve certain of the outstanding issues. All
the above referenced remaining issues of fact remain to be resolved.




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                                  CONCLUSION

      For the reasons stated above, the defendant’s motion for partial summary
judgment on Count Two of plaintiff’s third amended complaint is DENIED. Plaintiff’s cross-
motion for partial summary judgment is also DENIED. Further proceedings will be
scheduled in a separate Order.

      IT IS SO ORDERED.

                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                               Judge




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